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                       IN THE UNITED STATES DISTRICT COT]RT
                    FOR TIIE EASTERN DISTRICT OF'PEI\NSYLVANIA

 UN-ITED STATES OF AMERICA, et aI., ex rel.
 CIIARLES STRUNCK, et al.,

                       Plaintiffs

                v                                              Civil Action No. l2-CY-0175

 MALLINCKRODT ARD LLC.
 (fIW a Mallinckrodt ARI), Inc. ;
 flkla Questcor Pharmaceuticals, Inc.),
                                                                     A TRU E c0 PY   tjtlffi      ,.r9-   tf o?               R   D
                       Defendant.                                                                                 diurrco
                                                                    DATED

UNITED STATES OF AMERICA, et al., ex rel.
SCOTT CLARK,                                                                    !P[    :':   )l;ilul iit Ptl'lfl!/Ltiiiii,t

                       Plaintiffs,

               v
                                                               Civil Action No. l3-CY-1776
MALLINCKRODT ARD LLC.
(fIW a Mallinckrodt ARD, Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant.


                    TJNITED STATES'                     IN INTERVENTION

       By notice to the Court on March 6,2019, the United States of America intervened in the

above-captioned cases. The United States alleges as follows:

                                      INTROD UCTION

       1.      The United States of America ("United States") brings this action against

Defendant pursuant to the False Claims Act, 31 U.S.C. 5S 3729-3733 ("FCA"), seeking treble

damages and civil penalties.




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       2.        From 2010 through2}l4 ("relevant time period"), Mallinckrodt ARD LLC

(formerly known as Mallinckrodt ARD, Inc. and previously Questcor Pharmaceuticals, Inc.)

(collectively "Mallinckrodt," the "Defendant," or the "Company") knowingly paid illegal

kickbacks in the form of copayment subsidies for its drug Acthar Gel (also referred to as H.P.

Acthar Gel) (collectively "Acthar"). The scheme allowed the Company to continually raise

Acthar's price yet market it as "free" to patients and doctors, shifting the drug's ever-increasing

cost to Medicare. As a result of its conduct, Mallinckrodt caused the submission of millions    of

dollars in false Medicare claims for Acthar.

       3.        Mallinckrodt did not develop Acthar. The U.S. Food and Drug Administration

("FDA") first approved Acthar in the 1950s, and Mallinckrodt acquired it in 2001. From the

time of the acquisition until December 2014, Mallinckrodt raised Acthar's per-vial price from

approximately $50 per 5 milliliter vial to over $32,2}Oper vial:


                                   ACTHAR PRICE HISTORY
  s35,000.00

  s30,000.00

  S25,ooo.oo

  s20,000.00

  s15,000.00

  Sto,ooo.oo

   Ss,ooo.oo

            S-



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        4.      Mallinckrodt knew that the cost of Acthar would make it difficult to sell because

there were cheaper, effective competitor drugs available to treat certain of its approved uses,

namely acute exacerbations in multiple sclerosis, lupus, and rheumatoid arthritis. Mallinckrodt

intended to overcome this difficulty and did so by making the drug "free" to patients by

subsidizing their Medicare copayments. By doing so, Mallinckrodt could maintain the high price

of Acthar to maximize its own sales revenues, but minimize the risk that the drug's high price

would impede doctors and patients from using it.

        5.     Mallinckrodt knew that paying copay subsidies to Medicare patients was illegal.

To achieve the same end indirectly, Mallinckrodt paid copay subsidies through a foundation that

Mallinckrodt used as a conduit to do so. At the foundation, called the Chronic Disease Fund

(now d/b/a Good Days) (collectively "CDF"), Mallinckrodt designed supposed "patient

assistance" funds that paid copays for Acthar only and then funded them through "donations,"

knowing its money would be used on Acthar copays to the exclusion of other drugs.

Mallinckrodt then sent Medicare patients to CDF in order to receive virtually guaranteed,

Mallinckrodt-funded subsidies. The Company also obtained and used data about the number

patients at CDF, the subsidies paid to them, and the amount of money Mallinckrodt needed to

pay to keep covering their Acthar copays. Mallinckrodt financed the funds accordingly.

Mallinckrodt also marketed the drug as "free" because of the copay funds it set up. Finally, the

Company excluded financially-needy patients with Medicare coverage for Acthar from its own

free product program in favor of sending those patients to CDF for copay subsidies to induce

Medicare claims and, thus, generate a sale of the drug for Mallinckrodt.

       6.      Using the CDF Funds as a conduit to pay illegal copay subsidies was profitable

for Mallinckrodt. For example, at atime when Acthar cost $30,000, Mallinckrodt could spend



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$1,500 to subsidize a five percent Medicare copay knowing that          it would reap   as much as


$28,500 in sales revenue from that prescription.

          l.       Mallinckrodt's scheme circumvented the Congressional design of the Medicare

system, which requires a copay, in part, to act as a market constraint against increasing drug

prices. Instead, Mallinckrodt left American taxpayers to shoulder the drug's ever-increasing

cost, while the Company reaped for itself the resulting profits.

                                 JURISDICTION, YENUE. PARTIES

          8.       This action arises under the FCA, as amended, 31 U.S.C. $$ 3729-33. This Court

hasjurisdictionoverthisactionunder3l U.S.C. $ 3730(a) and28 U.S.C. $$ 1345 afi1367(a).

          9.       Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

$ 1391(b) and      3l U.S.C. $3732(a).

          10.      This Court may exercise personal jurisdiction over Defendant pursuant to 31

U.S.C. $ 3732(a) and because Defendant transacts business in this District.

          1   1.   Plaintifl the United   States of America, brings this action on behalf of the

Department of Health and Human Services ("HHS"), and, specifically, its operating division, the

Centers for Medicare      & Medicaid Services ("CMS").

          12.      Relator Charles Strunck is an individual who resides in the State of New York.

Relator Strunck was employed by Mallinckrodt from September 2010 until August 2011 as an

Acthar sales specialist with responsibility for sales in the States of New York and Connecticut.

Relator Lisa Pratta is an individual who resides in the State of New Jersey. Relator Pratta was

employed by Mallinckrodt from September 2010 through June 1 7,2017 as an Acthar sales

specialist with responsibility for sales in New Jersey. On January 20,2012, Relators Strunck and

Pratta   fied United   States, et al., ex. rel. Strunck v. Questcor Pharm., Inc., Civil Action   No.   12-




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175 (BMS) (E.D. Pa.), pursuant to the qui tam provisions of the False Claims Act, 31 U.S.C.


$ 3730(b).

        13.     Relator Scott Clark is an individual who resides in the state of Oregon. Mr. Clark

was employed by Mallinckrodt from September 2010        until Jtne2012 as an Acthar   sales

specialist with responsibility for the State of Oregon. On April 4, 2013 , Relator Clark filed

United States, et al., ex. rel. Clarkv. Questcor Pharm., Inc., Civil ActionNo. 13-cv-01776

(BMS) (E.D. Pa.), pursuant to the qui tam provisions of the False Claims Act, 31 U.S.C.

$ 3730(b).

        t4.     Defendant Mallinckrodt ARD LLC has its principal place of business at 1425

U.S. Route 206, Bedminster, NJ, 07921. Mallinckrodt ARD LLC was previously named

Mallinckrodt ARD, Inc., and, prior to that, was named Questcor Pharmaceuticals, [nc.

("Questcor").

        15.     Mallinckrodt ARD LLC is a subsidiary of Mallinckrodt plc, an Irish public

limited compiuly. On April 4,2014, Mallinckrodt plc entered into an Agreement and Plan of

Merger with Questcor and effectuated the acquisition of Questcor on August 14,2014.

       16. ' Questcor survived the merger as a wholly owned indirect subsidiary of
Mallinckrodt plc and continued to market Acthar thereafter, until changing its name to

Mallinckrodt ARD, Inc. on July 27, 2015.

       17.      On January 26,2019, Mallinckrodt ARD, Inc. converted to Mallinckrodt ARD

LLC and continues to market Acthar under that name now.

       18.      Mallinckrodt has marketed Acthar in the United States at all relevant times for

purposes of this complaint-in-intervention. Mallinckrodt conducts business nationwide.




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                                     LEGAL BACKGROUND

  I.    THE MEDICARE PART D PROGRAM AND COPAYS UNDER MEDICARE
        PART D

                A. Medicare    Part D

        19.     Congress established Medicare     in 1965 to provide health insurance coverage for

people aged sixty-five or older and for people with certain disabilities or afflictions. See 42

U.S.C. $$ 1395 et seq.

        20.     Medicare is funded by the federal govemment and administered by CMS, which

is part of the United States Department of Health and Human Services ("HHS").

        21.     In 2003, Congress passed the Medicare Prescription Drug, Improvement, and

Modernization Act, Pub. L. 108-173, 117 Stat. 2066, which established a voluntary prescription

drug benefit program for Medicare enrollees known as Medicare Part             D. Under Medicare   Part

D, Medicare contracts with private entities, known as Part D Plan Sponsors, to administer

prescription drug plans. See 42 C.F.R.   S   423.4.

        22.     Medicare beneficiaries who wish to receive Part D benefits must enroll in a Part D

Plan offered by a Part D Plan Sponsor. An individual is eligible to enroll in Medicare Part D         if
the individual lives in the service area of a Part D plan and is entitled to Medicare benefits under

Medicare Part A or enrolled under Medicare Part           B.   See 42 C.F.R. g a23.30(a).

        23.     The Part D Sponsors are regulated and subsidized by CMS pursuant to one-year,

annually renewable contracts. Part D Sponsors, in furn, enter into subcontracts with pharmacies,

or other "downstream entities," to provide prescription drugs to the Medicare Part D

beneficiaries enrolled in their plans.




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        24.    These entities submit claims to Part D plans that pay for the drug using funds

provided by CMS from the Medicare Prescription Drug Account, an account within the Federal

Supplementary Medical Insurance Trust Fund. 42 C.F.R. $ 423.315(a).

               B.   Medicare Part D Copay Qbligations

        25.    By Congressional design, under the Medicare statute,        a Part   D beneficiary may be

required to make apartial payment for the cost of these prescription drugs in the form of a

"copayment," "coinsurance," or "deductible" (collectively "copays"). These copay obligations

can be substantial for expensive medications and vary throughout the year, depending on a

beneficiary's total Part D covered expenses incurred that year up to that point. See 42 U.S.C.

$ 1395w-102. For example, after meeting an annual deductible (originally $250 in 2006), the

standard Part D benefit requires a25 percent patient copay up to an    "initial coverage limit"

(originally 52,250 in 2006). Id. atb(l)-(z).

        26.    After meeting the "initial coverage limit," during all relevant times, patient copay

obligations increased substantially prior to meeting an "annual out-of-pocket threshold" for the

coverage year. This period exceeding the     "initial coverage limit" and before crossing the

"annual out-of-pocket threshold" is referred to as the "coverage gap." See 42 U.S.C. $ 1395w-

102(b)(2)(D). For brand name drugs, the patient copay owed in the "coverage gap" was 100

percent through 2010,50 percent in 201   I   and20l2,   and 47.5 percent   in20l3 and20l4.
       27.     The financial thresholds for the "deductible," "initial coverage limit," and annual

"out-of-pocket threshold" have increased each year since 2006 pursuant to a stafutory and

regulatory formula (from $250, $2,250, and $3,600 respectively to $310, $2,850, and $4,700

respectively by 2014).




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        28.     Medicare Part D coverage for costs incurred after the "coverage gap", i.e., on

costs incurred for the remainder of the benefit year above the "annual out-of-pocket threshold"

(originally $3,600 in 2006), is commonly referred to as "catastrophic coverage."

        29.     Congress determined that patients owe a copay obligation in the "catastrophic

coverage" phase equaling the greater ofi 1) five percent of the prescription drug costs; or 2) a

small fixed dollar amount (originally $5 for brand name drugs in 2006). 42 U.S.C. $ 1395w-

102(bX4). As a practical matter, a patient will owe a five percent copay in the "catastrophic

coverage" phase of Part D for any expensive, brand name drug. As described below, the

remaining costs are paid by a "reinsurance subsidy" from CMS (80 percent) and the Part D plans

(15 percent).

       30.      These Medicare copays exist to encourage physicians and beneficiaries to be

efficient consumers of federally reimbursed health care products, while also encouraging those

manufacturing such products to price them based on market forces such as consumer sensitivity

and competition. Manufacturers paying the Medicare copays of those seeking to buy their drug

circumvent this congressionally designed check on health care costs. As the United States

Department of Health and Human Services, Office of the Inspector General ("HHS-OIG") has

observed, drug manufacturers paying the Medicare Part D copays of patients taking their

products "eliminat[e] a market safeguard against inflated prices." HHS-OIG, Special Advisory

Bulletin on Patient Assistance Programs for Medicare Part D Enrollees, 70 Fed. Reg.70623,

70625 (Nov. 22,2005) (*2005 SAB").

 II.   THE FALSE CLAIMS ACT

       31.      The FCA provides, in pertinent part, that any person who:

                (A) knowingly presents, or causes to be presented, a false or fraudulent
                claim for payment or approval; [or]


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                (B) knowingly makes, uses, or causes to be made or used, a false record or
                statement material to a false or fraudulent claim;

                . . .is liable to the United States Government for a civil penalty of not less
                than $5,000 and not more than $10,000, as adjusted by the Federal Civil
                Penalties Inflation Adjustment Act of 1990 (28 U.S.C. 2461note; Public
                Law 104-410), plus 3 times the amount of damages which the Government
                sustains because ofthe act ofthat person.

31 U.S.C. $ 3729(a)(1).

         32.    For purposes of the FCA, the terms "knowing" and "knowingly" mean that a

person, with respect to information: (i) has actual knowledge of the information;     (ii) acts in

deliberate ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard      of

the truth or falsity of the information. No proof of specific intent to defraud is required.      3   I

u.s.c.   $ 372e(b)(1).

         33.    The FCA defines the term "claim," in pertinent part, as

                any request or demand, whether under a contract or otherwise, for money
                or property and whether or not the United States has title to the money or
                property, that (i) is presented to an officer, employee, or agent of the
                United States; or (ii) is made to a contractor, grantee, or other recipient, if
                the money or property is to be spent or used on the Government's behalf or
                to advance a Government program or interest, and if the United States
                Govemment--(I) provides or has provided any portion of the money or
                property requested or demanded; or (II) will reimburse such contractor,
                grantee, or other recipient for any portion of the money or property which
                is requested or demanded[.]

Id. at $ 3729(b)(2).

         34.    For purposes of the FCA, the term "material" means "having a natural tendency to

influence, or be capable of influencing, the payment or receipt of money or property." Id. at

s 372e(bx4).




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III.      THE ANTI-KICKBACK STATUTE

          35.   The Anti-Kickback Statute     ("AKS"), 42 U.S.C. $ 1320a-7b(b),           arose out   of

Congressional concern that payoffs to those who can      inflr.n."   health care decisions would result

in goods and services being provided that are excessively costly, medically unnecessary, of poor

quality, or potentially harmful to patients. To protect the integrity of federal health care

programs from these difficult-to-detect harms, Congress enacted       a   per se prohibition against the

payment of kickbacks in any form, regardless of whether the particular kickback gave rise to

overutilization or poor quality of   care. In particular, when determining what conduct to
prohibit, Congress determined that the inducements at issue would "contribute significantly to

the cost" of federal health care programs absent federal penalties as a deterrent. H.R. Rep.

No. 95-393 , at 53 (1977), reprinted in 1977 U.S.C.C.A.N. 3039, 3056.

          36.   The AKS was first enacted    in 1972, and was strengthene      d   in   1977   , 1987, and

2010, to ensure that kickbacks masquerading as legitimate transactions did not evade its reach.

See Social Security Amendment s      of l972,Pub.   L. No. 92-603, $$ 242(b) and (c); Medicare-

Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142;Medicare and Medicaid

Patient and Program Protection Act of 1987, Pub. L. No. 10G93; Patient Protection and

Affordable Care Act, Pub. L. No. 111-148. In adopting and strengthening the AKS repeatedly,

Congress sought to "strengthen the capability of the Government to detect, prosecute, and punish

fraudulent activities under the [M]edicare and [M]edicaid programs." H.R. Rep. No. 95-393, at

t   (re77).

         37.    The AKS is a federal criminal statute that prohibits any person or entity from

knowingly and willfully offering or paying anything of value (including money), directly or




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indirectly, overtly or covertly, to any person to induce that person to purchase or refer federally-

funded medical goods or services, including prescription drugs covered by Medicare.

         38.     Violation of the AKS is a felony and can also subject the perpetrator to criminal

penalties, exclusion from participation in federal health care programs, and civil monetary

penalties.42 U.S.C. $ 1320a-7b(b)(2);42 U.S.C. $ 1320a-7(b)(7);42 U.S.C. $ 1320a-7a(a)(7).

         39.     In pertinent part, the Anti-Kickback Statute provides:

         (b)     Illegal remunerations . . .

                 (2)     Whoever knowingly and willfully offers or pays any remuneration
                 (including any kickback, bribe, or rebate) directly or indirectly, overtly or
                 covertly, in cash or in kind to any person to induce such person-

                         (A)     to refer an individual to a person for the furnishing or
                         arranging for the furnishing of any item or service for which
                         payment may be made in whole or in part under a Federal health
                         care progrfim, or

                         (B) to purchase, lease, order or uurange for or recommend
                         purchasing, leasing or ordering any good, facility, service, or item
                         for which payment may be made in whole or in part under a
                         Federal health care program,

                shall be guilty of a felony and upon conviction thereof, shall be fined not
                more than $100,000 or imprisoned for not more than l0 years, or both.

42 U.S.C. $ 1320a-7b(b)(2).

         40.      The AKS defines remuneration to include anything of value, including "cash"

and   "in-kind" payments or rebates. 42 U.S.C. $ 1320a-7b(bx2). Money and other forms of

financial subsidies that can be used to pay or waive Medicare copays constitute remuneration

under the AKS.

         41.   The AKS defines a "Federal health care program" to mean "any plan or program

that provides health benefits, whether directly, through insurance, or otherwise, which is funded

directly, in whole or in part, by the United States Government," except for the health insurance


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program for federal employees under 5 U.S.C. $$ 8901 et seq. 42 U.S.C. $ 1320a-7b(f).

Medicare is a "Federal health care program" for purposes of the Anti-Kickback Statute.

         42.    The AKS provides that: "With respect to violations of this section, a person need

not have actual knowledge of this section or specific intent to commit a violation of this section."

42 U.S.C. $ 1320a-7b(h).

         43.    The AKS further provides that any Medicare claim "that includes items or

services resulting from a violation of [the   AKS] constitutes a false or fraudulent claim for

purposes   of [the FCA]." 42 U.S.C. $ 1320a-7b(g). Under this provision, claims submitted to

federal health care programs that result from violations of the AKS are per se false or fraudulent

within the meaning of 31 U.S.C. $ 3729(a). Accordingly,       a person violates the   FCA when he or

she   knowingly submits or causes to be submitted claims to federal health care programs that

result from violations of the AKS.

         44.    Compliance with the AKS is material to the agency's decision to pay a Medicare

claim.

         45.    As set forth in more detail below, Mallinckrodt knowingly and willfully paid

remuneration to Medicare patients to induce the patients to purchase Acthar by providing them

with financial subsidies to satisfr the copayment obligations necessary to buy the drug (which

were often significant for Medicare patients, because of the price Mallinckrodt set for Acthar).

At least one purpose of the remuneration in the form of copay subsidies was to induce patients

and doctors to use and purchase Acthar.

         46.    By providing kickbacks to induce prescriptions for and purchases of Acthar that

were reimbursed by Medicare, Mallinckrodt knowingly caused false claims to be submitted to

Medicare for Acthar.



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                                  FACTUAL BACKGROTIND

  I.    BACKGROUND ON MULTIPLE SCLEROSIS, LUPUS, AND
        RIIEUMATOID ARTHRITIS

               A. Multrple   Sclerosis

        47.    Multiple sclerosis ("MS") is a central nervous system disease in which the body's

immune system attacks the body's myelin nerve cell coating. MS can cause a variety     of

symptoms, which can increase in severity periodically.

        48.    MS "relapses," "acute exacerbations," or "flares" (collectively "Ms

exacerbations") are temporary periods of increased disease activity in an MS patient, manifested

by the worsening of existing MS symptoms or the onset of other MS symptoms. MS

exacerbations are not a separate disease from MS.

        49.    The FDA has approved several medications for the long term treatment of MS

patients, including medications to slow the accumulation of physical disability from the disease

or to decrease the frequency of acute exacerbations. These medications are sometimes referred

to as MS "disease modifuing" drugs or therapies. Acthar is not a "disease modifuing" drug or

therapy for MS.

       50.     The FDA also has approved drugs for treatment of MS exacerbations, such as

Acthar. A standard treatment for MS exacerbations includes administering methylprednisolone,

a steroid, which can be administered intravenously   ("IVMP") or orally. Both IVMP   and oral

methylprednisolone are available in several brand name or generic forms. The drugs are

significantly less expensive than Acthar.




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                   B.   Lupus

          51.      Systemic lupus erythematosus ("Lupus") is an autoimmune disease in which the

body's immune system targets its own healthy cells. Lupus can damage the kidneys, brain, skin,

joints, or other areas of the body.

          52.      Lupus patients can experience "flares" or "exacerbations" (collectively "Lupus

exacerbations"), which are periods of increased disease activity and are characterized by

worsening Lupus symptoms.

          53.      Lupus exacerbations are not a separate disease from Lupus.

          54.      A standard treatment for Lupus exacerbations includes the administration of

steroids, which can be available in brand name or generic forms. The drugs are significantly less

expensive than Acthar.

                   C.   Rheumatoid Arthritis

          55.      Rheumatoid Anhritis ("RA") is an inflammatory autoimmune disease in which

the body's immune system targets itself, including the       joints. RA patients   can experience

"flares" or "exacerbations" (collectively,     "IL\   exacerbations"), which are periods of increased

disease   activity and are characteized by worsening RA symptoms.

          56.      RA exacerbations are not a separate disease from RA.

          5l   .   A standard treatment for RA exacerbations includes the administration of steroids,

which can be available in brand name or general forms. The drugs are significantly less

expensive than Acthar.

 II.      BACKGROUND ON ACTHAR GEL

          58.      Acthar is an adrenocorticotrophic hormone analogue that is injected either

beneath the skin (subcutaneously) or into the muscle (intramuscularly), depending on its use.



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        59.      The U.S. Food and Drug Administration approved Acthar for marketing in the

United States in 1952, after the pharmaceutical division of a large meatpacking and food

processing company invented the drug in 1948. Acthar's active ingredient is extracted from pig

pituitary glands.

        60.      According to its FDA label, once injected, Acthar may stimulate the body to

secrete certain hormones (such as cortisol and corticosterone). According to         Mallinckrodt's

website, "the exact way Acthar works is unknown," but it is "believed to work" by helping the

body "produce its own natural steroid hormones" and by affecting the body's immune cells to

have an "impact" on inflammation.

        61.      Acthar's FDA label contains an approval for the treatment of MS as follows:

"Acthar Gel (repository corticotropin injection) is indicated for the treatment of acute

exacerbations of multiple sclerosis in adults. Controlled clinical trials have shown Acthar Gel to

be effective in speeding the resolution of acute exacerbations of multiple sclerosis. However,

there is no evidence that it affects the ultimate outcome or natural history of the disease."

        62.      Acthar's FDA label also contains an approval for "Collagen Diseases," including

Lupus. It is FDA-approved for treatment "[d]uring an exacerbation or as maintenance therapy in

selected cases   of:   systemic lupus erythematosus, systemic dermatomyositis (polymyositis)."

        63.      Acthar's FDA label also contains an approval for "Rheumatic Disorders," "[a]s

adjunctive therapy for short-term administration (to tide the patient'over an acute episode or

exacerbation)    in:   [p]soriatic arthritis, [r]heumatoid arthritis, including juvenile rheumatoid

arthritis (selected cases may require low-dose maintenance therapy), [a]nkylosing spondylitis."

        64.      In 2010, the FDA approved Acthar to treat a rare seizure disorder affiicting

children called infantile spasms ("IS").



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 ilI.    MALLINCKRODT ACQUIRED ACTHAR, RAISED ITS PRICE TO OVER
         $23,000 PER VIAL, AND STOPPED MARr(ETING IT FOR MS

         65-       In July 2001, Mallinckrodt acquired worldwide rights to sell and manufactue

Acthar from another drug company, Aventis Pharmaceuticals, Inc.

         66.       Mallinckrodt began to market Acthar in the third quarter of 2001 and initially

increased its price from approximately $50 per vial to nearly $750 per       vial. It quickly became

the Company's main product, accounting for 94 percent of Mallinckrodt's net sales by the end           of
2006.

        67.        During this time period, the majority of Acthar sales came from referrals for IS

patients by pediatric neurologists, although the Company did promote Acthar to adult

neurologists for use on MS patients as well. MS usage accounted for about one-third of Acthar

referrals until200l    .



        68.        In2007, Mallinckrodt adopted a so-called "orphan pricing strategy" that

purportedly focused on positioning Acthar as a preferred therapy for IS, sharply increasing its

price, and pivoting away from marketing Acthar for MS or other more cortmon diseases.

        69.        On August 27,2007, Mallinckrodt increased the cost of Acthar to over $23,000

per 5 milliliter   vial. This   represented an increase of over 46,000 percent from Acthar's

approximately $50 price when Mallinckrodt acquired it six years earlier.

        70.        Mallinckrodt settled on this per-vial price because it wanted the new cost of an

average Acthar regimen for IS to be approximately $100,000.

        71.        In choosing this new per-vial price, Mallinckrodt initially believed that it had

priced Acthar out of the MS exacerbation treatment market, which has many low-cost treatment

options. The Company believed the new price of Acthar would "negate any business potential




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Acthar had in MS." Mallinckrodt terminated its MS sales force and dedicated remaining account

representatives to work with IS prescribers.

        72.     By the end of 2007, Mallinckrodt's net sales increased to $49.8 million, from

$12.8 million the year before. As the Company expected, MS referrals declined to an all-time

low ofjust eight vials in December 2007 (compared to an average of 250 vials per month prior to

the 2007 price increase).

                               DEFENDANT'S FRAUD SCHEME

        73.     Mallinckrodt soon realized that it could generate significant revenue if it could

successfully sell Acthar as an MS treatment at the new $23,000 per vial price.

        74.     Mallinckrodt also knew that the new price was a barrier to those sales, given the

wide availability of less expensive alternatives and the lack of scientific data showing that Acthar

was more effective than those alternatives.

        75.     But Mallinckrodt soon determined that, if it subsidized Acthar copays, it could

market the drug as "free" to doctors and patients, while payers such as Medicare absorbed the

drug's increased cost.

        76.     Rather than provide these illegal subsidies directly, Mallinckrodt routed them

through a foundation, CDF. CDF is headquartered in Plano, Texas, and operates funds that

receive payments from donors and uses those payments to pay copay subsidies to patients,

including Medicare patients in this judicial district.

       77.     Mallinckrodt established funds at CDF and made payments to them, intending for

all of its funding to be used to subsidize the copays for Acthar but no other drug.




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        78.     Mallinckrodt then sent patients to CDF and actively tracked the status of every

referral. Mallinckrodt made continued payments to the funds in amounts necessary to keep

subsidizing the Acthar copays of patients the Company sent there.

        79.      As Mallinckrodt implemented this scheme, its Acthar sales and revenue grew

significantly and Mallinckrodt believed the subsidies it routed through CDF were the "most

motivating factor" to "[d]rive Acthar [p]rescribing" in the face of concerns about Acthar's cost.

With   a proven method   to negate these concems, Mallinckrodt raised Acthar's price to over

$32,000 per 5   milliliter vial by the end of 2014.

  I.    MALLINCKRODT REALIZED IT COULD INCREASE ITS ACTHAR PROFITS
        BY UNLAWFULLY SUBSIDIZING ACTHAR COPAYS

        80.     Not long after raising Acthar's price to over $23,000 per vial in 2007 and

believing, at least initially, that it had priced itself out of the MS market, Mallinckrodt saw that

the market potential of successfully selling Acthar as an MS treatment at the new price would be

hundreds of millions of dollars. Mallinckrodt re-established a pilot MS sales force in 2008 to try

to generate Acthar MS referrals at the new price.

        81.     Mallinckrodt knew that Acthar had many cheaper, effective competitors in the

MS exacerbation treatment market. For example, according to Mallinckrodt, IVMP was "far and

above [the] market leader in acute exacerbation therapy," and "[t]he price of Acthar compared to

the relative ease and convenience of a three-day, generic IVMP infusion . . . creates a significant

barrier" with MS physicians. Mallinckrodt further knew that, while "the retail price for an

average course of Acthar based upon the labeled 2-3 week dosing (2 vials) is approximately

$50,000," the "standard treatment with IVMP [] ranges anywhere from $400-$1,200" and "this

disparity in price is compounded by the lack of scientific evidence to support significant clinical




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advantages in flare treatment." Mallinckrodt also knew that, in some instances, low-cost, oral

steroids were also "becoming an attractive option in the treatment of MS flares."

        82.    Mallinckrodt also understood that, for some insurance plans, the over-$23,000

price could lead to very high patient costs. Medicare Part D beneficiaries, in particular, could

owe thousands of dollars in copays for one vial of Acthar while advancing through the

deductible, initial coverage limit, and coverage gap. Even in the catastrophic coverage stage   of

Part D copays, Acthar patients would owe five percent of the drug's cost (i.e., more than $1,150

per vial).

        83.    Mallinckrodt realized subsidizing patient copay obligations could overcome some

doctor and patient cost concerns.

        84.    Mallinckrodt knew that it was illegal to subsidize Medicare copays directly, so it

sought to accomplish the same result through a"copay assistance fund" that    it designed, created,

and used as a money conduit to pay patient copay subsidies for Acthar (but no other drug).

        85.    Mallinckrodt initially attempted this by providing funding to a foundation called

the National Organization for Rare Disorders   ('NORD"). In particular, Mallinckrodt   hoped to

use NORD to subsidize Acthar copays on a large scale (to match its ramped-up marketing

efforts), and the Company wanted detailed data confirming that its payments were being spent on

Acthar copays (and not other drugs).

        86.    Mallinckrodt did not think that NORD effectively served the Company's

purposes. In the spring of 2010, Mallinckrodt decided to switch from NORD and began to look

elsewhere for an organization that, in Mallinckrodt's opinion, better serve its desires. The

individuals involved in making this determination included: 1) a Senior Manager of Specialty

Distribution and Support Services in Mallinckrodt's Reimbursement Division ("Reimbursement



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Manager");2) afull time consultant that Mallinckrodt hired from an entity called BioSolutia to

work with Mallinckrodt regarding NORD and other Acthar reimbursement issues ("BioSolutia

Consultant"); 3) Mallinckrodt's Vice President of Commercial Operations ("Commercial VP");

and 4) Mallinckrodt's then-Executive Vice President and Chief Business Officer, whose title

changed to Chief Operating Officer the next year ("Mallinckrodt's COO").

       81.    After discussions, in April and May 2010, these individuals agreed that the

BioSolutia Consultant would contact CDF to discuss starting a new fund for Mallinckrodt to

replace the copay fund at NORD.


 II.   MALLINCKRODT ESTABLISHES ITS ACTHAR COPAY CONDUIT AT CDF

              A.   The MS "Acute Exacerbation" Fund

       88.    On May 21,2010, the BioSolutia Consultant emailed Mallinckrodt's COO,

Commercial VP, and Reimbursement Manager that: "As promised, I spoke with fthe President

of CDF] this morning and described our potential need and situation re: MS Exacerbation Copay

Fund." The BioSolutia Consultant explained that CDF already had a patient assistance fund for

MS patients, but that CDF's President "thought we would be able to comfortably define the fund

as specific to MS exacerbation, as we've done at NORD, to prevent chronic MS med needs from

tapping the funds." This was important to Mallinckrodt because the Company did not want to

make payments to a fund that might pay the copays of MS drugs other than Acthar.

       89.    Mallinckrodt's COO responded to the BioSolutia Consultant the same day: "This

sounds like a good possibility" and asked to schedule a meeting with   CDF. The BioSolutia

Consultant wrote back to CDF: "Thanks for discussing [Mallinckrodt]'s needs re: MS

Exacerbation Copay Assistance fund with me today" and added that he would provide CDF with

dates for an introductory meeting. He also explained that Mallinckrodt expected to pay an



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increasing amount of Acthar Medicare copays going forward: "In2009 the fund generated about

$450K in needs and in 2010 it is tracking about 20%o above that since most are Med-D with

percentage (specialty tier) copays."

       90.     On June 1,2010, after subsequent discussions with Mallinckrodt, CDF gave a

presentation to Mallinckrodt's COO and other employees demonstrating CDF's operational

"capabilities" to meet this ramped up demand. In an e-mail to Mallinckrodt's Reimbursement

Manager that evening, the BioSolutia Consultant noted that, after the presentation,

Mallinckrodt's COO viewed the choice between NORD and CDF as "Mom & Pop vs.

WalMart."

       91.     Within two weeks, Mallinckrodt decided that it needed   a   "WalMart" copay fund

to operationalize its scheme on a larger scale. As Mallinckrodt's COO wrote to Mallinckrodt's

CEO on June 18, 2010:

       We have made the decision to move the co-pay programs to the Chronic Disease
       Fund from NORD. . . . In short, we are at the point where we have outgrown
       NORD's "mom-and-pop" co-pay capabilities, and this change will give us a much
       better understanding of flow of funds and flexibility regarding how co-pay funs
       [slc] are made available.

       92.     At the same time, Mallinckrodt held discussions with CDF to finalize the

establishment of the new "MS Acute Exacerbation Fund." Mallinckrodt set up the fund for just

patients with government insurance, such as Medicare Part D.1

       93.     Mallinckrodt and CDF agreed that the MS Acute Exacerbation Fund would cover

the copays of Acthar but not the copays of other drugs. For example, on July 9, 2010, CDF sent

Mallinckrodt a "Program Spec[ification]" term sheet, making the Acthar-specific nature of the



I For patients with private
                            insurance, Mallinckrodt had CDF open a separate Acthar "Private
Fund" for Mallinckrodt to send private insurance patients to CDF to have Acthar copays paid.
That fund also exclusively covered Acthar.

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fund clear. The document, entitled "HPActhar_ProgramSpecs" stated that the "Product: H.P.

Acthar Gel" for the "public" MS Acute Exacerbation Fund'

       94.     Mallinckrodt sent an executed copy of the donation agreement for the MS Acute

Exacerbation Fund to CDF on July 14,2010.

       95.     The MS Acute Exacerbation Fund agreement contained multiple statements that

were known to be false at the time they were made. For example, the agreement stated the fund

would provide financial assistance, including copay assistance, to "patients being treated for

acute exacerbations of multiple sclerosis with any medically appropriate   therapy[.]" In reality,

and as Mallinckrodt intended and demanded, the MS Acute Exacerbation Fund paid copays for

Acthar exclusively.

       96.     The donation agreement also falsely stated that CDF already operated "an

assistance program for patients being treated for acute exacerbations of multiple sclerosis . .   .




[and Mallinckrodt] desires to provide [CDF] with a donation for    [it]." At that time, CDF did not
have such an assistance program; the fund was established at the behest of Mallinckrodt, and

Mallinckrodt viewed the fund as its own.

       97.     The agreement also stated that the Program "eligibility criteria will be developed

by the Board [of CDF] without consideration or input by Donor." In fact, the decision that only

Acthar patients were eligible was dictated by Mallinckrodt.

       98.     Key individuals at Mallinckrodt agreed and shared the view that the fund was

established and controlled by Mallinckrodt and exclusively available to Acthar patients. For

example:

   o   In an email from Mallinckrodt's COO to CDF's Senior Director of Operations on July
       15,20l0-telling her to expect Mallinckrodt's first payment the next day-
       fr4allinckrodt's COO wrote: "I have notified NORD's President . . . that we have now



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        established co-pay funds at CDF to help address out [sic] expanding needs for patient
        support and monitoring of funding flows." (Emphasis added.)

    o   On July 21,2010, the BioSolutia Consultant wrote to several specialty pharmacies,
        copying the Mallinckrodt Reimbursement Manager, that "[Mallinckrodt] will be adding
        [CDF] as an administrator/source of funding for their copay assistance programs for
        Acthar." (Emphasis added.)

    o   On October 19,2010, the Reimbursement Manager wrote to the sales force again that:
        "Please be sure that your offrces are aware of our Copay Assistance Program" and
        reminded them that "a key point to cover when discussing copay assistance" is that
        "[Mallinckrodt] established an Acute Exacerbations of Multiple Sclerosis 'bucket'. As a
        result, Acthar patients needing copay assistance will not be using funds provided by the
        manufacturers of the disease modifying therapies." (Emphases added.)

    a   On October 26,2011, the Reimbursement Manager wrote to the Executive Director of
        CDF in an email titled "[Mallinckrodt] copay funds" to schedule a discussion about
        future payments to CDF and "operational things." (Emphasis added.)

    a   On January 15,2072, the Reimbursement Manager wrote to the Commercial VP about
        the need for more payments to CDF: "I anticipate a higher demand on our copay funds
        this month because most Med-D patients will need coverage for the donut hole because
        everything reset on January 1'1." (Emphasis added.)

        99.    On July 15,201.0, Mallinckrodt's COO approved a wire transfer for S150,000

from Mallinckrodt to CDF to fund the MS Acute Exacerbation Fund and Private Fund. CDF

received the wire on July 16,2010, and the MS Acute Exacerbation fund opened at that time.

From this point through2014, the MS Acute Exacerbation Fund paid Medicare copays for

Acthar but not for any other drug.

        100. Mallinckrodt sent patients to CDF via the Company's "reimbursement       hub" for

Acthar, called the Acthar Support and Access Program ("ASAP"). Mallinckrodt controlled

ASAP, which included a call-center that received referrals for Acthar from physician offices and

patients. Mallinckrodt's sales force took steps to ensure that any Acthar prescriptions were

routed through ASAP so the Company could track them. After a referral came in to ASAP, as




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discussed in more detail below, ASAP provided patients with an "automatic offering" of copay

assistance via CDF.

        101.    Although the new fund was ostensibly defined as limited to MS "Acute

Exacerbation" patients to ensure that Mallinckrodt's payments to it would not be used on other

MS drugs that are prescribed for long-term disease treatment, Mallinckrodt never intended to

place any such limitation on Acthar patients.

        102. Instead,   Mallinckrodt, via ASAP, referred Acthar patients to the fund regardless

of whether they were using the drug for an acute exacerbation or on a long-term basis.

Internally, Mallinckrodt referred to this longer-term use of Acthar in MS patients as "pulse

maintenance" or "pulse" therapy.

        103. Mallinckrodt acknowledged this to be an unapproved use of Acthar, took steps
internally to identify which Acthar prescriptions were for such "pulse" treatments, and knew it

accounted for a significant number of Acthar    refills. As   stated in an analysis of   refill patterns

prepared for the Commercial VP on October       24,201l, for example: "Take       a look at the attached

spreadsheet. I think a significant percentage of refills are attributed to pulse like treatment."

Through the MS Acute Exacerbation fund, Mallinckrodt sometimes paid patients' recurring

copay subsidies for years' or months' worth of Acthar referrals.

       104.    As Mallinckrodt expanded its Acthar marketing beyond MS, it repeated this same

scheme in two other areas: Lupus and Rheumatoid Arthritis.

               B. The Lupus "Exacerbation"      Fund

       105.    Mallinckrodt began planning to market Acthar for Lupus in mid-2011 and

assumed that it needed to subsidize Medicare copays to induce sales of Acthar for Lupus as it




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had for   MS. Mallinckrodt thus set about to establish a purported Lupus "exacerbation" fund that

the Company could use as a conduit to subsidize Lupus patients' Medicare copays for Acthar

          106. On July 6,2011,     Mallinckrodt's Reimbursement Manager wrote the COO:

          After our recent discussions about lupus, it occurred to me that we will need to create
          copay fund at CDF for this disease state. It would make sense to start the fund with a
          minimal amount of money until we can determine the referral volume for that diagnosis.
          I'm not sure how soon we can expect to see a referral but we will want to have the fund
          in place as soon as we think there may be enough interest to generate a prescription. It
          would be easy to add this to our program so please let me know your thoughts on when
          we should contact CDF.

          107.   The COO responded: "It's good to think ahead for sure. . . . [A]s long as we can

set up a new fund   quickly I don't think there is any rush. Maybe you can discuss with [CDF]

and   tell [CDF] that at some point down the road we will probably start seeing lupus prescriptions

so we can hear from them how       quickly it can be set up."

          108. On Friday, September      2,2011, the Reimbursement Manager wrote CDF: "We

are moving into a new area, lupus, and we would like to set up a   public [Medicare] fund for this

disease state. How    quickly can we do this . . . ?"

          109.   CDF's Senior Director responded on the same day: "A public find [sic] takes me

24hours [sic] to set up. I will send over our agreement template. What is the name of the

product?"

          I10.   Mallinckrodt's Reimbursement Manager responded the same day, stating:



                        The product is still Acthar0




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        111. The Reimbursement       Manager reported back to Mallinckrodt's COO the same day

that "[CDF] can set up a copay fund for lupus with[in] 24 hours. She is going to send over a

template agreement. We can have a fund established next week if you'd like."

        ll2.   The Reimbursement Manager replied to CDF via email on September                6,20ll "let
me know whirt we need to do in order to get this fund set up" and then again on September 12,

2011, "[c]an you help me out with   this?" After further interaction with CDF, the Reimbursement

Manager reported to the COO on September 20,2011, that "[w]e are going to open a copay fund

for Lupus," and said that calling it another "exacerbation" fund would be necessary to exclude

other drugs from   it. He wrote: "I was thinking   of calling it something like 'Acute Exacerbation

of Lupus Fund' so we don't open ourselves up to other drugs being used for maintenance

therapy." He continued: "[CDF] said if we established the fund for exacerbations, Acthar

patients that may be prescribed Acthar for maintenance could still get coverage."

       113.    The COO responded:     "I am OK using the name you          proposed but I would not

want us to be limited in terms of what patients can enroll, given our very broad [FDA] label."

He continued that the "only real maintenance drug is Benlysta" and that the fund should be

named in such a way to "capture most of the use of Acthar but exclude most Benlysta use." "For

example," the COO wrote, "our current MS fund is titled'MS acute exacerbations', which

allows Actahr [sic] patients to get covered but excludes Avonex, Copaxone, etc. patients."

       ll4.    CDF then prepared a contract for Mallinckrodt to establish the "Lupus

Exacerbation" fund, and Mallinckrodt's COO signed it on October 31,20L1.

       115. The Lupus Exacerbation       Fund agreement contained false statements similar to

those in the MS Exacerbation Fund agreement.       It falsely   stated that the fund   would pay for "any




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medically appropriate therapy," and that the fund's eligibility criteria were developed without

any donor's "input." It also falsely stated that CDF already had such a fund.

        116.   Two days later, on November 2,2011, Mallinckrodt wired an initial $25,000

payment to CDF. The fund then opened.

        ll7.   From this point through 2014, the Lupus Exacerbation fund paid the Medicare

copays of Acthar but no other drug.

        118.   Again, as it did with the MS Acute Exacerbation fund, Mallinckrodt knew a

significant portion of its Acthar referrals for lupus were for longer-term, non-acute treatment. In

fact, because "maintenance" treatment for Lupus was on-label, Mallinckrodt planned to market

Acthar for this use.

        119.   According to Mallinckrodt, the Lupus "pulse maintenance opportturity is similar

to the pulse-maintenance approach in MS" and posed a "[]arge per patient revenue opportunity"

for the Company. As of August2}l2, Mallinckrodt estimated that 40 percent of its "[t]arget

[p]opulation" for Lupus would be maintenance patients and, by November 2012, observed that

while the "[e]xpected dosage for each [Lupus] flare is 1.5 vials," the "[v]ials per script [would]

gradually increase[] to account for maintenance therapy1.1"

        120.   Mallinckrodt sent longer-term patients to the so-called Lupus "exacerbation" fund

via ASAP, as it did with MS. The fund sometimes paid for continuous Acthar refills that went

on for months or years.

               C.   The RA "Exacerbation" Fund

       l2l.    In the surrmer of 2012, Mallinckrodt started marketing Acthar as a treatment for

Rheumatoid Arthritis and soon determined that it needed another Acthar-only fund at CDF to

pay the Medicare copays of these patients, too. On September 13,20l2,just three hours after



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receiving questions from ASAP about whether copay subsidies would be available for Acthar

RA referrals, Mallinckrodt's Reimbursement Manager emailed CDF's Senior Director and           a


CDF Quality Analyst asking them to schedule a call with him, the COO, and the Commercial VP

to "to discuss setting up a public fund for RA," and noting that "[w]e'd like work with you on

what to call   this[.]" CDF scheduled the call for 10:30 AM the next morning, September 14,

2012.

        122. Even though the fund had not opened yet, CDF started planning for
Mallinckrodt's referrals to   it. Shortly after noon on September 14, 2012, the CDF Quality
Analyst wrote to all CDF call center employees (who received referrals over the phone from

ASAP) that: "All, [i]f we have any referrals/requests for assistance with RA and the patient is

being treated with Acthar, please get all of the patient's information and notate their account. . .   .



Advise the patient that we will contact them back in regards to the assistance. Then email me

and the fSenior Director] with the ID number for the patient. Under no circumstances should

you say or indicate that we do not have a fund open at this time . . . I need each of you to email

me back regarding this communication indicating that you have read and understood the above

message."

        123.     Meanwhile, Mallinckrodt prepared for the fund's opening on its end. On

September 15,2012, the BioSolutia Consultant reported back to ASAP that he expected the fund

to be opened shortly: "As described by [the Reimbursement Manager] during yesterday's status

call, . . . in about a week [he] expects to have a fund established to be able to also provide [copay

subsidiesl for patients with [Medicare Part D]" for RA referrals.

        124.     Mallinckrodt was now accumulating Acthar RA referrals where the sale could not

be completed without copay assistance. On September 18, 2012, the BioSolutia Consultant



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emailed Mallinckrodt's Reimbursement Manager, "[a]ny new info on Med-D RA fund? Cases

holding." The Reimbursement Manager replied "No word yet."

        I25.     The same day, Mallinckrodt's Reimbursement Manager wrote to CDF: "Sorry to

be a pest but   I'm at a meeting with [the COO] and [the Commercial VP] and they are constantly

asking me if I've heard any information from you guys." CDF had responded that CDF needed

to confer with its own counsel before proceeding fuither. On September 2l,2012,the

Reimbursement Manager wrote again: "[The COO] and [the Commercial VP] are getting really

anxious about this fund because we have several patients that are in need of funding and waiting

for drug. Can you please update me?" Later that day CDF agreed to "open the fund under the

category of Exacerbation of Rheumatoid Arthdtis[.]"

        126.     Mallinckrodt's Reimbursement Manager emailed Company rheumatology sales

force personnel several hours later that   "I   am happy to arurounce that we just established a fund

at CDF for RA patients. The fund is titled'Exacerbation of Rheumatoid          Arthritis' . . . [T]his is a

great addition to our offerings. What this means is that we can now offer RA patients with


[Medicare Part D] copay assistance." From this point forward, the RA Exacerbation Fund paid

the Medicare copays of Acthar but no other drug.

        l2l.     Based on reports and tracking     it received on refill patterns from ASAP,

Mallinckrodt knew that some of the Acthar referrals it made to CDF's RA "Exacerbation" fund

were actually for long-term use. As with MS and Lupus, Mallinckrodt sent these patients to the

RA "Exacerbation" fund via ASAP and, through it, paid copay subsidies for sometimes months'

or years' worth of Acthar refills.




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III    MALLINCKRODT SENT MEDICARE PATIENTS TO THE FUNDS IT
       CREATED AT CDF TO RECEIVE ACTHAR COPAY SUBSIDIES

        128. Shortly after establishing the MS Acute Exacerbation      fund, and continually as it

established the Lupus and RA Exacerbation funds, Mallinckrodt directed ASAP to send to CDF

any Medicare patient who needed a copay subsidy to buy Acthar.

        129.   On July 15, 2010, the same day he sent the executed MS Acute Exacerbation fund

contract to CDF, the Mallinckrodt COO wrote to the BioSolutia Consultant and the

Reimbursement Manager to "ensure that gets implemented at the hub" (l.e., ASAP). Within a

month, this was complete. On August 13,2010, the Reimbursement Manager wrote to

Mallinckrodt's COO that "[The BioSolutia Consultant] and I have instructed ASAP to send all

copay patients to CDF and they are being handled without delay."

       130. Mallinckrodt initially directed ASAP to proactively offer copay assistance to any
patient with Acthar copays in excess of $200 but later reduced that threshold to $150 to reduce

the likelihood of Mallinckrodt "losing some referrals" absent an "automatic offering" of Acthar

copay assistance.

       131. As the Reimbursement Manager announced           to the sales force on June 25, 2012:

       Based on feedback from you and your managers, we have evaluated our current
       business rule of automatically offering copay assistance. Our current threshold
       for ASAP to proactively ask the patient if they need assistance with their copay is
       $200 and several of you suggested that we lower that amount because there
       are concerns about losing some referrals where the patient does not receive
       an automatic offering of copay assistance. Effective today, ASAP will begin
       proactively offering copay assistance to all patients with copays greater than
       $150. Keep in mind that patients needing assistance with smaller copay amounts
       will still be referred to CDF. We will monitor how this change impacts cases over
       the next several months and evaluate   if a further reduction is necessary.

(Emphasis added).




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          132.   Through this automated process that Mallinckrodt coordinated, Mallinckrodt

filled the funds at CDF with patients the Company sent there itself. Mallinckrodt's ASAP

program referred over 98 percent of the patients who received copay subsidies from the MS,

Lupus, or RA "Exacerbation" funds at CDF.

          133. Mallinckrodt also knew that virtually all of the patients it sent to CDF would
receive copay subsidies for Acthar. As early as August 2010, Mallinckrodt's Reimbursement

Manager assured a regional sales manager that: "Almost every patient that requests assistance

will   be approved, with the exception of very wealthy     families." Mallinclaodt maintained this

expectation of virtually guaranteed copay subsidies throughout the time period, as CDF

confirmed for Mallinckrodt that it was approving almost every patient the Company sent there.

Iv.      MALLINCKRODT EXCLUDED MEDICARE PATIENTS FROM ITS FREE
         DRUG PROGRAM

          134.   During the same time period that Mallinckrodt sent Acthar patients to CDF to

receive Medicare copay subsidies, the Company also retained NORD to operate a "Patient

Assistance Program" ("PAP") that offered free Acthar to patients who met certain financial

criteria and could not afford the drug's high price. ASAP also sent certain patients to NORD for

that purpose.

          135. But Mallinckrodt intentionally       did not send Acthar patients with Medicare or

other insurance coverage for the drug to the NORD PAP. Instead, Mallinckrodt sent those

patients to CDF where they received copay subsidies to cover their costs and triggered insurance

reimbursement for Acthar. Mallinckrodt also required patients to appeal insurance coverage

denials of Acthar before referring them to the PAP. According to Mallinckrodt, patients "[m]ust

exhaust appeal options after denials" and   "[i]f   we exhaust appeal options, patient will be

referred to [PAP]." (Emphasis in original.)"


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       136.    In other words, whenever possible, Mallinckrodt sought to cause Medicare claims

to be submitted for Acthar so that Mallinckrodt could get paid from a sale of the drug as opposed

to giving it away for free through the NORD PAP. As the BioSolutia Consultant wrote to the

Reimbursement Manager on November 17,2010: "We're in the 'sell more Acthar now

business' not the give more Acthar now."

 v     MEANWHILE, MALLINCKRODT MARKETED ACTHAR AS FREE TO
       DOCTORS AND THEIR PATIENTS

       137.    Mallinckrodt marketed guaranteed copay assistance to physicians and patients       as


a way to neutralize concerns about the price and   to induce sales and Medicare reimbursement.

This began immediately after establishing the MS Acute Exacerbation Fund at CDF and

continued throughout the relevant time period.

       138. For example, on August 4,2010, the Reimbursement Manager provided all
regional sales managers with "talking points to use with [their] teams" on how to sell Acthar

using copay assistance at CDF. He wrote that the "[m]essaging to [doctors]" should be "we offer

copay assistance" and that "patients that need assistance   will [ ] get approved over the phone in

most cases."

       139. The same month, Mallinckrodt developed talking points and trainings          for the sales

force to evade objections to Acthar's high price and to sell Acthar using the promise of copay

subsidies. The very first talking point read: "DO NOT APOLOGIZE FOR THE PRICE." The

training directed sales representatives to "[r]eview [the] co-pay coverage program" with

prescribers who expressed concem about the drug's price. A set of Mallinckrodt training slides

visualized anticipated objections about high copays this way:




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                                                                      (nrftry    ftm*,E-ll/rL




The slides instructed the sales force to address this objection by telling doctors that,
                                                                                                *[i]f   a


patient is unable to afford their co-pay, we offer an excellent co-pay coverage program"

and "when co-pay is covered (in virtually all cases) it is for l00oh of the co-pay." (Emphasis

added). According to the training, "the process is fast."

        140.   Mallinckrodt's Reimbursement Manager also emailed all sales representatives on

October 19,2010 with a "Tip of the Week" message to emphasizethe importance of marketing

Acthar as zero-cost to most patients. He stated: "Please be sure that your offices are aware of

our Copay Assistance Program. It is important that the MD's and nurses are aware of this

program and understand it enough to explain it to their patients."

        l4l.   Mallinckrodt meanwhile conducted extensive market research to confirm that

these methods were effective. For example, Mallinckrodt commissioned a market study                 of

neurologists to examine Mallinckrodt's concern that "as a consequence of the price increase and

the loss of goodwill physicians may be switchin g away from Acthar to alternative therapies."

The study reported as a "bottom line" that there is "pricing angst in MS" and that many MS

physicians "consider [Acthar] to have a very poor value in terms of efficacy vs cost." It also



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reported that potentially high patient copays for Acthar concemed MS physicians: of the MS

physicians surveyed, 25 percent reported not prescribing Acthar in the last twelve months

because the "patient copay is too   high" after the price increase.

          142.   Mallinckrodt internalizedthe study's findings in its sales plan for Acthar.

Addressing the question of "What Will Increase Prescribing?", Mallinckrodt's plan noted that

"copay support" is "important" because "cost to the patients is a key concern."

          143.   Mallinckrodt took steps to ensure that the sales force executed the Company's

sales strategy of marketing Acthar as free due to   vinually guaranteed copay subsidies via CDF.

For example, on June 9, 2011, an Acthar Product Manager at corporate headquarters (the

"Product Manager") sent an email to the sales force managers asking that they survey the sales

representatives in each of their respective regions and ask three questions: 1) whether the

representatives messaged co-pay assistance; 2) what percentage of the time did they discuss co-

pay assistance; and 3) "how do [they] message co-pay assistance for Acthar?" Their answers,

reported back through the sales managers to the Product Manager and the Reimbursement

Manager, confirmed that the sales force had been using copay assistance for Acthar as a "selling

tool,"   as the Company   intended. The sales representatives' responses included:

             o   "I.use.co.pay [slc] assistance program as a selling tool."

             a   "Call it co-pay coverage. If your [patient] hits donut hole in Med D and has huge
                 co-pay or has a $50 co-pay that they can't afford, [Mallinckrodt] will cover it for
                 them."

             a   "I make sure that the nurse
                                           presents the co-pay assistance info to the patient to
                 prevent them from jumping  to any wrong conclusions if the co-pay is high."

             o   "[F]or higher copays, patients can get co-pay assistance through    a fund set up by
                 [Mallinckrodt] through [CDF]."




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                a     *99o of the time; Most every call when the cost to the patient is discussed; I
                      discuss it more frequently when there is a pushback on the copays []; Almost
                      every call."

                a     'oDo not let cost be the reason why you        wouldn't RX Acthar."

                a     "Ireference co-pay assistance to physicians, ancillary staff and billing. I talk
                      about it 100% of the time. It is part of all calls . . . [Mallinckrodt] provides co-pay
                      assistance for patients in need covered at l00oh."

                a     "Most every call especially when the cost to the patient is discussed. I state . . .
                      [if] for any reason the copay is more than $200 the patient will automatically get
                      copay assistance and will get the ACTHAR for free. I also state that if the patient
                      expresses concern on the amount of the copay under $200 they can still qualifu
                      for copay assistance and get it for free."

                U     "I discuss that no co-pay amount is too small for [Mallinckrodt] to cover . . . Cost
                      is the issue in my territory. I have to talk about the copay assistance program with
                     my accounts."

                a      "[Mallinckrodt] generally covers whatever insurance does not[,] so[] no concern
                      for patient having to bear the financial burden for cost of Acthar."

                o     "Many of our Acthar patients do not pay a co-pay because of our extensive co-pay
                      assistance program."

           144.       When one sales representative indicated that she was not clear on the details                 of

the Acthar "bucket" Mallinckrodt established at CDF, the Mallinckrodt Product Manager tried to

justify her confusion to the Reimbursement Manager, noting that, "to be fair though, I would

admit I have a lot to learn about this too. Maybe we could talk about the exact details sometime

so   I can be a pro too." In an e-mail on June 17,2011, the Reimbursement Manager rejected this

explanation:


     No need to add'To be faif.lq this e-mail. Yolr weren't trained like the sales force .p9 ifs n9! surprising th"t you aren't
     an expert in this area.' otri GFs aG.qut tliei.s.sellirrB the mo6t oeensive &iA on:t6i plaire! and oae of *iiin aHnt
     tultah-rlglqeFv          bucltet for AE of MS. Thafs a shocter and probably makes her less effective when tryint to get
     neui:MDs tti'lftrilte.




(Emphasis added). The Product Manager responded


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                            Good point. You're the best! O



       145.     Mallinckrodt's sales force continued to promote guaranteed Acthar copay

subsidies via CDF in this manner, with the intent to induce Medicare Part D claims throughout

the relevant time period

VI     MALLINCKRODT CONTINUED TO MAKE PAYMENTS TO CDF AND
       UNDERSTOOD THAT ITS "DONATIONS" SUBSIDIZED ACTHAR COPAYS
       EXCLUSIVELY

       146.    Mallinckrodt made continued payments to CDF to keep subsidizing Acthar

copays through the MS "Acute Exacerbation," Lupus "Exacerbation" and RA "Exacerbation"

funds throughout the relevant time period. Knowing that each fund covered Acthar exclusively,

Mallinckrodt intended to keep these financial conduits functioning smoothly by fully funding

them to subsidize the copays of all the Acthar patients Mallinckrodt sent to CDF.

       147.    Mallinckrodt monitored this by receiving detailed financial reports from CDF,

called "Program Reports," containing information about how many patients were enrolled in the

fund, how much the fund had already paid out, and how much had been allocated to enrolled

patients. The reports also stated the percentage ofpatients approved to receive copay subsidies,

the average copay amount paid by the fund, the total number of resulting drug "dispenses"

(broken out by new dispenses vs. refills), and the remaining fund balance.

       148. Because these funds paid Acthar copays only, all of these reported metrics    were

specific to Acthar. This gave Mallinckrodt the ability to monitor its fund balances and confirm

the amount of future Mallinckrodt-to-CDF payments necessary to keep paying Acthar copay

subsidies smoothly.




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        149.     For example, on August 13,2010, shortly after the MS Acute Exacerbation Fund

opened, the Reimbursement Manager wrote to Mallinckrodt's        COO: "I'll be receiving updated

reports from [CDF] later this afternoon so I can keep an eye on the fund balances[.]" The COO

replied: "Good. Let's keep a close eye on usage and we can replenish      as   necessary." On May

22,2012, the Reimbursement Manager wrote to the Commercial VP: "Here is the latest funding

balance at   CDF. I am setting up a call with [CDF] so we can walk through these numbers to see

where we stand for actual dollars. The amount of funding for patients has dramatically increased

due to volume and the Med-D copay amounts during      Ql."
        150. Mallinckrodt also compared this information to internal      information it received in

reports from ASAP to check that the amounts CDF reported as necessary for future Acthar

subsidies were, in fact, necessary for that purpose. The reports from ASAP included a daily

"Case Review" report, via the BioSolutia Consultant, that    identified: the status of each Acthar

referral received; confirmation that specific patients had been referred to and accepted by CDF;

and confirmation that these patients' Acthar vial(s) had been purchased and shipped as a result.

The reports also identified whether referrals to CDF (and approvals by CDF) were for Medicare

Part D patients.

        151. This information,    combined with the CDF reports, confirmed for Mallinckrodt

that CDF was using Mallinckrodt's "donations" to pay the Acthar Medicare copays of the same

patients Mallinckrodt sent to CDF. If there were questions about whether a request from CDF

for more funding was justified, Mallinckrodt double-checked the request against this information

to confirm it.

        I52.     For example, on October 28,2011, the Reimbursement Manager wrote the COO

that CDF had informed him that it needed more funding for the MS Acute Exacerbation fund,



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Lupus Exacerbation fund and the Private Fund, and that CDF had "promised me a report by next

Wednesday that     will show us the amount of real dollars paid out for   each fund so we know

exactly where we sit as the year comes to an end." The COO responded: "I assume you have

reviewed the pattern of funding and utilizing of money for these funds and that this level   of

funding is appropriate for each, or are we waiting for [CDF's] report to do so?" The

Reimbursement Manager replied: "I have been carefully watching the volume of copay

assistance requests for each disease state and I reviewed the approximate fund balances with


[CDF] last week. The funding requested by CDF is appropriate for each disease state and we

continue to see a high demand for copay assistance for MS patients[.]" The COO replied "OK,

I'll   approve these and forward to accounting for payment."

          153.   On September 1, 2012, Mallinckrodt and CDF entered into a "Service Agreement

Amendment" to their July 15, 2010 "agreement to administer a Copay Assistance Program" for

Acthar (collectively, "Amendment"). The Amendment provided that Mallinckrodt would

provide "bulk donations" to CDF "with the intention of funding all programs in which H.P.

Acthar Gel is on formulary" and that CDF would "distribute the donations . . . as needed"

internally to ensure unintemrpted copay subsidies for Acthar by each fund. From that point

forward, CDF styled its "donation request" letters to Mallinckrodt as seekingmoney for the

"H.P. Acthar Gel Programs," i.e., not for a specific fund.2 Mallinckrodt made payments on this

basis through Decemb    er 2O73,always paying the amounts CDF requested for the "H.P. Acthar

Gel Programs."




2
  Prior to this, Mallinckrodt would sometimes "roll over" funds that it had already donated to the
Private Fund at CDF into the other funds paying Acthar Medicare copays, upon notice from CDF
that these funds were running low.

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              154.        In December 2013, CDF decided to close Mallinckrodt's funds but was willing to

subsidize already-enrolled patients for another year if Mallinckrodt continued to make payments

to CDF to do so. Mallinckrodt continued to subsidize Acthar copays using CDF through2}l4

and made additional payments to the "H.P. Acthar Gel Programs" for that purpose.

              155. From 2010 through2}l4, Mallinckrodt made the following payments to CDF for
the MS Acute Exacerbation fund, Lupus Exacerbation fund, RA Exacerbation fund, or the "H.P.

Acthar Gel Programs" (including the Private Fund):


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vII.          AS MALLINCKRODT'S SCHEME WORKED,IT INCREASED ACTHAR'S
              PRICE AND PROFITS

              156.        After Mallinckrodt established the co-pay conduit at CDF, the Company achieved

significant growth in Acthar MS sales and corporate revenue. For example, as demonstrated

below, Acthar MS sales nearly quadrupled between the third quarter of 2010 (when Mallinckrodt

established the MS "acute exacerbation" fund, as annotated) and the third quarter of 2013.




                                                                                39
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                    Quarterly MS Trend
                    (paid/sh ipped             )

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                                                                                     1,289

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                                  MS'Acute Exacerbations" Fund Established



       157.    Mallinckrodt believed that covering Acthar copays through CDF was a key driver

for these sales. In a business plan for 2013, for example, Mallinckrodt observed that "more

financial assistance" was the single most significant "motivating factor" that would "increase

likelihood of using Acthar" and address "concernf] about the cost" of the drug:



     Ways to Drive Acthar Prescribing
       More financial assistance continues to be the most motivating factor in increasing HCP
            prescribing of Acthar, showing that they are still corcerned about the cost.



       158.    Not long after establishing the MS "acute exacerbation" fund at CDF,

Mallinckrodt executed a sustained pattern of subsequent price increases. On December 4,2010,

Mallinckrodt's CEO circulated          a presentation   pitching that Mallinckrodt was a "sales company,




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not a development company" and could position itself to "dominate" certain niche markets for

other "devastating, diffi cult-to-treat conditions" with "higher prices"   :




        QCOR Could Dominate a Niche
      o Devastating, difficult-to-treat medical
        conditions
           - Lower competition level, higher prices
               permitted
      o Profitable, building shareholder value
           - Returns substantially greater than cost of capital
      o Science-driven                   sales
           - Sales company, not a development company
        159.   Although the Company's total revenues had already increased approximately ten

times over since 2006 (the year before the price increase to $23,000), from 2010 to 2014,

Mallinckrodt implemented further price increases as it expanded its copay conduit scheme at

CDF. On January 3,201I Mallinckrodt raised Acthar's price to over $24,430 per vial. Under

six months later, it raised the price again to over $25,600 per vial. In December 2011, it raised

the price to over $27,300 per   vial. In May 2012, it raised   the price to over S28,680 per    vial. In

June 2013, it raised the price to over $30,100 per     vial. In January 2014, it raised   the price to over

$31,600 per vial. And, in December 2014 itraised the price to over $32,200 per vial.




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         160. Mallinckrodt's revenue    and profits increased substantially after increasing

Acthar's price further. For example, the Company reported net sales of Acthar of over $761

million by the end of 2013.

       MALLINCKRODT KNOWINGLY AND WILLFULLY VIOLATED THE AKS BY
                    PAYING ACTHAR MEDICARE COPAYS

         161. Mallinckrodt knowingly and willfully violated the AKS by paying illegal Acthar
copay subsidies as described above to induce prescriptions and sales of Acthar reimbursed by

Medicare.

  I.     MALLINCKRODT KNEW THAT THE AKS PROHIBITS THE COMPANY
         FROM PAYING ACTHAR MEDICARE COPAYS

         162.   Mallinckrodt had knowledge and understanding of the AKS and its prohibition on

paying remuneration with an intent to induce purchases or referrals. Mallinckrodt also had

knowledge and understanding of the False Claims Act and its prohibition on submitting, or

causing to be submitted, false claims to federal health care programs, including Medicare.

Mallinckrodt further knew that claims resulting from kickbacks are not payable by Medicare and

that it was illegal to offer Medicare beneficiaries inducements in the form of copay subsidies.

Mallinckrodt trained its employees on these laws, including the key individuals who interacted

with CDF, and they understood that it would be unlaufirl for Mallinckrodt to pay patients'

Acthar Medicare copays.

         163.   Mallinckrodt compliance training stated that "[c]ompliance with various laws and

regulations that impact interactions with health care professionals . . . , customers, or others who

may purchase, prescribe, [or] influence the use of Mallinckrodt's products" includes compliance

with "Healthcare fraud & abuse; Anti-kickback statutes, [and the] False Claims Act." Regarding

the "Kickback Prohibition," the training warned that "[e]mployees must never provide anything



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of value (money or in-kind) as an inducement or a reward for purchasing, prescribing, using, or

recommending Mallinckrodt's product(s)." Another Mallinckrodt compliance training specified

that the "Anti-Kickback Laws" "prohibit payments intended to induce someone to purchase,

prescribe, endorse or recommend a product that is reimbursed under federal or state healthcare

programs."

       164.    Mallinckrodt's corporate policies also reflected Mallinckrodt's knowledge that

such payments are illegal and that causing the submission of false claims to Medicare violates

the False Claims Act.

       165. Mallinckrodt's      "Reimbursement Assistance" policy stated that:

       Under the False Claims Act, it is a violation of law for anyone to knowingly
       make, or cause others to make, false statements or claims to the federal
       government. Misuse of a diagnosis code, or any other inaccuracy submitted in
       any of the information submitted in a claim for reimbursement from a Federal
       Health Care Program could be challenged as a false claim.

       166. The same policy specified that it is a violation of the AKS to offer
"Reimbursement Assistance"-v7ffish includes "referrals to financial assistance programs or

patient assistance program5"-1o induce the use or purchase of Acthar: According to the policy,

"the Anti-Kickback Statute prohibits providing Reimbursement Assistance" to someone "who is

1) involved in the provision of health care services; and 2)   ina position to purchase,   lease,

recommend, use, alrange for the purchase or lease of, or influence the purchase or lease of,

[Mallinckrodt's] products" to "induce him or her to purchase, recommend, use, or arrange for the

purchase or prescription   of [Mallinckrodt] products."

       167.    The Mallinckrodt employees interacting with CDF understood the law, as

explained in these policies and trainings. These employees knew that Mallinckrodt could not

legally pay Medicare copays for Acthar. For example, on ltrne 24,2010, the Reimbursement



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Manager emailed the Commercial VP:      "I don't think we can reimburse patients directly if they

have a government payer (Med-D or Medicaid      HMO)." Mallinckrodt's Commercial VP

responded: "You are right if it's Medicare part D."

        168.   Mallinckrodt's employees also understood that the pharmaceutical industry in

general viewed paying Medicare Part D copays as illegal under the   AKS. Trade publications

they circulated shared this view. For example, on February 11,2010, the BioSolutia Consultant

emailed Mallinckrodt's Reimbursement Manager an email entitled "copay articles," and attached

several articles, including a January 2010 publication from "Pharma Exec" (the industry website

at www.pharnaexec.com, which describes itself as offering "Commercial Insight for the C-

Suite"). The publication stated that copay subsidies from manufacturers to patients "have

emerged as the preferred solution to preserving market share" but that "co-pay offsets are an

illegal inducement for Medicare Part D beneficiaries." The email also attached a Wall Street

Journal Article from July 2009 entitled "Drug Makers Criticized for Co-Pay Subsidies" that

stated: "Even as U.S. lawmakers seek new ways to rein in health-care spending, drug companies

are quietly circumventing a proven tool for controlling prescription-drug costs: insurance co-

payments." The article noted that drug companies don't pay copay subsidies for Medicare Part

D patients "out of a concern" that doing so "could violate the federal anti-kickback law." The

next day, The Reimbursement Manager forwarded the articles to the Commercial VP, writing

"[a]ttached are some articles [the BioSolutia Consultant] pulled regarding copay subsidies. I sent

you the Pharma Exec article last month so you may [have] already seen that one."

       169.    Nevertheless and despite knowledge that its payment of copays directly to

Medicare Part D beneficiaries would violate the AKS, Mallinckrodt designed the MS, Lupus,

and RA "Exacerbation" funds at CDF as conduits to accomplish the very same result.



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 II.   MALLINCKRODT KNEW THAT HHS.OIG WARNED DRUG COMPANIES
       AGAINST USING FOLTNDATIONS AS CONDUITS TO PAY MEDICARE
       COPAYS

        ll0.   For over 20 years, HHS-OIG has been authorized by Congress to provide

guidance to the health care industry to prevent fraud and abuse. See The Health Insurance

Portability and Accountability Act ("HIPAA") of 1996, Public Law 104-191 $ 201; 42 U.S.C.           g


1320a-7c. To further this goal, and pursuant to this authority, HHS-OIG issues industry-wide

guidance and advisory opinions about industry practices or arrangements that pose risks under

anti-fraud laws such as the AKS.

       17l.    Since at least 2005,just after Medicare Part D's enactment but prior to the first

coverage year (2006), HHS-OIG has issued industry wide guidance concerning the practice        of

drug companies subsidizingthe copays of Medicare patients.

       172. Mallinckrodt knew that HHS-OIG           warned drug companies against paying the

Medicare copays owed for their own drugs, and against using foundations as conduits to

accomplish the same result, because doing so created a risk of AKS liability.

               A.                                                               the Medicare
                     Cooavs of Their Own Products              The AKS And Facilitates Price
                     Increases

       173. In 2005, HHS-OIG        issued industry-wide guidance advising that drug companies

paying Medicare patient's Part D copays (either directly or indirectly through a manufacturer's

patient assistance program) "pose a heightened risk of fraud and abuse under the [AKS]."

Special Advisory    Bulletin: Patient Assistance Programs for Medicare Part D Enrollees, 70 Fed.

Re5.70,623,*70,624 (Nov.22,2005) (https://oig.hhs.gov/fraud/docs/alertsandbulletins/

2005/PAPAdvisoryBlletinFinal-Final.pdf) ("2005 SAB"). In particular, HHS-OIG advised that,

in its view, such subsidies would "be squarely prohibited by the [AKS], because the



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manufacturer would be giving something of value (i.e., the subsidy) to beneficiaries to use its

product." 2005 SAB at70,625. HHS-OIG further expressed the concern that this practice would

present   "all the usual risks of fraud and abuse associated with kickbacks" and could facilitate

inflated prescription drug prices: "[w]e are concerned about the use of cost-sharing subsidies to

shield beneficiaries from the economic effects of drug pricing, thus eliminating a market

safeguard against inflated   prices." 2005 SAB at 70,626.

          174.   Moreover, HHS-OIG cautioned that "[copay] subsidies can be very profitable for

manufacturers," because a drug's sale price exceeds the amount of the copay subsidy.      1d This

provides "additional incentives for abuse." 1d 3 HHS-OIG also cautioned that "pharmaceutical

manufacturers may seek to improperly maximize these profits by creating sham 'independent'

charities to operate [a Patient Assistance Program]" or "by colluding with independent charity

programs to ensure that the manufacturer's contributions only or primarily benefit patients using

its products[.]" 2005 SAB at 70,626.

                 B.   HHS-OIG Has Long Warned Drug Companies Against Usine Foundations As
                      Conduits To       sh the Same Result

          175. Since at least 2005, HHS-OIG      has also wamed drug companies against using

third-party foundations as mere conduits to pay Medicare copays. To avoid a potential risk of

AKS liability, "the independent charity [patient assistance program] must not function as a

conduit for payments by the pharmaceutical manufacturer to patients." 2005 SAB at 70,627.




3
 HHS-OIG issued a supplemental special advisory bulletin in2014 reiterating these and other
concepts from the 2005 SAB. Supplemental Special Advisory Bulletin: Independent Charity
Patient Assistance Programs,T9Fed. Reg. 31,120,31,122 (May 30,2014) (https://
oig.hhs.gov/fraud/docs/alertsandbulletins/2014lindependent-charity-bulletin.pdf) ("2074 SAB")
("the ability to subsidize [copays] for their own products may encourage manufacturers to
increase prices").

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        176.     HHS-OIG has also warned drug companies against attempting to influence

supposedly independent charities into creating "funds" dedicated to the drug companies' own

products. HHS-OIG advised that creating "funds" defined in reference to the symptoms (or

severity of symptoms) of a disease increases the risk of fraud and abuse by increasing the

likelihood that drug company donors can earnark their "donations" to their drugs, and thereby

create a conduit.


        [W]e are concerned that, in some cases, charities may artificially define their
        disease categories so narrowly that the earmarking effectively results in the
        subsidization of one (or a very few) of donor's particular products. For example,
       we would be concerned if disease categories were defined by reference to
       specific symptoms, severity of symptoms, or the method of administration of
       drugs, rather than by diagnoses or broadly recognized illnesses or diseases.
       This type of arrangement would present an elevated risk of fraud and abuse
       because of the increased likelihood that the PAP would function as an improper
       conduit for manufacturers to provide funds to patients using their specific drugs.
       To avoid this risk, pharmaceutical manufacturers should not influence,
       directly or indirectly, the identification of disease or illness categories, and
       pharmaceutical manufacturers should limit their earmarked donations to
       PAPs that define categories in accordance with widely recognized clinical
       standards and in a manner that covers a broad spectrum of available
       products.

2005 SAB at70,627 (emphasis added).

        177. HHS-OIG       has also identified other indicia that may expose a drug company to

potential AKS liability, such as exerting "any direct or indirect influence" over the foundation; or

"solicit[ing] or receiv[ing] data from the charity that would facilitate . . . correlating the amount

or frequency of its donations with the number of subsidized prescriptions for its products    ." 2005
SAB at 70,626.

        178. In2006, HHS-OIG        issued Advisory Opinion 06-10 to CDF, which incorporated

these safeguards into its terms. (Sept. 14,2006) ("CDF Advisory Opinion")

(hups ://www.mygooddays. org/oi g/AdvOpn06- I 0A.pdf).




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           179.   Mallinckrodt knew about HHS-OIG's guidance on these AKS risks. For

example, the "donation agreements" Mallinckrodt signed with CDF referenced the importance             of

complying with "all applicable laws, statutes, rules and regulations," including "the Federal

Anti-Kickback Statute, 42U.5.C. $ 1320a-7b(b)" and also highlighted the "policies of the [HHS-

OIGI," including the 2005 SAB. Mallinckrodt also received a copy of CDF's Advisory Opinion.

III.       MALLINCKRODT IGNORED HHS-OIG'S WARNINGS ABOUT THE TYPE OF
           CONDUCT THAT WOULD VIOLATE THE AKS

           180. Mallinckrodt ignored these concems and engaged in conduct that HHS-OIG
specifically warned was high-risk under the AKS.

           181. Mallinckrodt did not avoid influencing    CDF's creation of the MS, Lupus, and RA

"exacerbation" funds. Rather, Mallinckrodt insisted that CDF create each new fund for

Mallinckrodt, when Mallinckrodt needed each fund to support the Company's Acthar marketing

efforts.

           182.   Mallinckrodt also insisted that these funds be narrowly defined in reference to

symptoms of each disease, rather than supporting all drugs that treat each disease, in a bid to

favor Acthar over other drugs. Mallinckrodt knew that "exacerbations" of MS, Lupus, and RA

were not distinct diseases, but rather were references to each diseases' symptoms and/or their

severity. For example, Mallinckrodt's 2010 Acthar business plan defined "relapses of MS"        as


the "periodic, sudden worsening of symptoms" in MS patients and video on Mallinckrodt's

website today describes MS relapses as "an exacerbation of MS symptoms." Mallinckrodt

insisted on these nirrrower symptom firnds to help make sure its drug Acthar would be covered,

to the exclusion of others, even when Acthar's FDA label was broader than the fund definition.

           183.   Mallinckrodt also received datathat allowed it to correlate its payments to these

funds with the number of Acthar prescriptions those payrnents subsidized. This enabled


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Mallinckrodt to monitor the "usage" of its payments to CDF and keep paying CDF in amounts

necessary to keep subsidizing the Acthar copays of the patients      it   sent there via ASAP.

        184. In sum, knowing that paying Acthar Medicare        copays was illegal and knowing

that HHS-OIG had cautioned that using a foundation as a conduit to pay them instead posed

serious AKS risk, Mallinckrodt did just that so it could market the drug as "free" and have

Medicare absorb the drug's ever-increasing cost.

                        MALLINCKRODT CAUSED
        THE SUBMISSION OF         Y FALSE CLAIMS TO MEDICARE

        185. Mallinckrodt's     conduct caused the submission of false claims to Medicare as a

result of its AKS violations

  I.   MEDICARE PAYMENTS FOR PRESCRIPTION DRUGS UNDER MEDICARE
       PART D

        186. Generally,    after a physician writes a prescription for a Medicare Part D

beneficiary, that patient can take the prescription to a pharmacy (or submit it to a mail order

specialty pharmacy) to be frlled.

        187.   When the patient submits the prescription, the Medicare copay is due from the

patient to complete the purchase of the drug and have the pharmacy          fill   the prescription by

dispensing it to the Part D beneficiary.

        188.   When the pharmacy dispenses drugs to that Part D beneficiary, the pharmacy

submits a claim to the beneficiary's Part D Sponsor, which, in turn, submits an electronic record

of the claim, called a Prescription Drug Event ("PDE"), to CMS. After dispensing the drug, the

pharmacy receives reimbursement from the CMS-funded Part D Sponsor for the portion of the

drug cost not paid by the Part D beneficiary at the point of sale.




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       189. The PDE contains many specific representations         regarding this Medicare

prescription drug claim, including the patient's name, service provider of the drug, the prescriber

of the drug, the name of the drug, and the quantity dispensed to the patient. Each PDE that is

submitted to CMS is a summary record that documents the final adjudication of a dispensing

event based upon claims received from pharmacies and serves as the request for payment for

each individual prescription submitted to Medicare under the Part D program.

       190.    Generating and submitting PDE claims data is necessary for CMS to administer

the Part D program and make payments to Part D Plan Sponsors to reimburse them for qualif,red

drug coverage that they provide to Medicare beneficiaries. Generating and submitting PDE data

is a condition of payment for CMS's provision of Medicare funds to Part D Plan sponsors. See

42 C.F.R. 5 423322.

       191.    CMS pays Part D Plan Sponsors based upon these PDEs in various ways. For

example, CMS gives each Part D sponsor advance monthly payments to cover, among other

things, the Part D Plan Sponsor's direct CMS subsidy per enrollee (which is based on a

standardized bid made by the Part D sponsor) and estimated reinsurance subsidies (to account for

CMS's anticipated 80 percent subsidy of the "catastrophic coverage" costs that will be incurred

for all enrollees). See id. $$ 423.315,423.329. At the end of the payment year, CMS then

reconciles the advance payments paid to each Part D Sponsor with the actual costs the sponsor

has incurred, as documented by PDE data. In this reconciliation process, CMS uses the PDE

claims data submitted by the Part D Sponsor during the prior payment year to calculate the costs

the Part D sponsor has actually incurred for prescriptions filled by Medicare beneficiaries under

Part D that year. In the case of the federal govemment's 80 percent reinsurance subsidy for

catastrophic costs, for example,   if CMS determines that it underpaid the sponsor, it will   make up



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the entire difference.a The payments made by CMS to the Part D sponsor            which in turn fund
                                                                              -
the provision of prescription drugs provided to beneficiaries at each drug dispensing event
                                                                                                -
come from the Medicare Prescription Drug Account, an account within the Federal

Supplementary Medical Insurance Trust Fund. 42 C.F.R.5 423.315(a).

          I92.   Part D Plan Sponsors must comply with "[f]ederal laws and regulations designed

to prevent fraud, waste, and abuse, including, but not limited to, applicable provisions of Federal

criminal law, the False Claims Act (31 U.S.C. 5 3729, et seq.), and the anti-kickback statute ($

1127B(b)) of the   Act)." 42 C.F.R. $ 423.505(hX1). Any "downstream" or "related" entities that

Part D Plans subcontract with (including pharmacies dispensing medication) must also comply

with these, and any other, contractual obligations of the Part D Plan, see 42 C.F.R.   $


423.505(1)(3xiii), and separately comply with all applicable federal laws, regulations, and CMS

instructions. See id.   S   423.505(i)(3)(iv).

          I93.   CMS regulations require Part D Plan Sponsors and related "downstream" entities

that generate and submit PDE claims data to certify that such data is true, accurate, and complete

and that the PDE data is the basis for obtaining federal reimbursement for the health care

products or services reflected therein. Id.5 423.505(k).

    il.   THE VIOLATIONS BY MALLINCKRODT WERE MATERIAL TO THE
          PAYMENT DECISION

          194. Compliance        with the AKS is a material condition of payment by Medicare.




4
  CMS also uses PDE data to determine risk-sharing amounts owed by CMS to the plan or (if a
plan significantly overestimated its non-catastrophic costs in its bid) owed by the plan to CMS.
These risk-sharing amounts involve calculations based on whether and to what degree a plan's
allowable costs exceeded or fell below atarget amount for the plan by certain threshold
percentages. See 42 C.F.R. S 423.336.

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        195. The centrality of the AKS to the claims payment decision is demonstrated      by the

fact that Congress has determined that any Medicare claim "that includes items or services

resulting from a violation of [the AKS] constitutes a false or fraudulent claim for purposes   of

[the FCA]." 42 U.S.C. $ 1320a-7b(g).

        196.   Entities submitting claims to Medicare are subject to mandatory exclusion from

Medicare by HHS-OIG if criminally convicted of an AKS violation, see, e.g.,42 U.S.C.

$ 1320a-7(a)(l), and subject to permissive exclusion    if HHS-OIG determines that the provider

"has committed an act" described in the AKS, 42 U.S.C. $ 1320a-7(b)(7).

        197.   The AKS is a criminal statute specifically designed to preventing fraud on federal

healthcare programs such as Medicare and prevent excessive costs to the Medicare program

resulting from all forms of illegal inducements.

        198.   HHS-OIG has made clear that compliance with the AKS is material. It has also

specifically provided guidance on its views of the risks inherent in drug companies paying copay

subsidies to induce purchases of (and Medicare reimbursement for) their own drugs as

potentially implicating the AKS, whether done directly or indirectly through a foundation. In

particular, HHS-OIG has wamed that drug company copay subsidies present "all the usual risks

of fraud and abuse associated with kickbacks." HHS-OIG has voiced repeated concern that these

subsidies eliminate a "market safeguard against inflated [drug] prices" and expose the Medicare

program to higher costs as a result. HHS-OIG has elaborated at length on the types of safeguards

that may be put in place to avoid the risk of an AKS violation.




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        199. The United States regularly enforces the AKS and pursues FCA liability based on
underlying violations of the AKS. In particular, it has pursued matters against drug companies

like Mallinckrodt for conduct like that alleged here.s

        200.    The conduct by Mallinckrodt undermined the corq concerns of the AKS            in
                                                                                           -
particular, preventing excessive costs to Medicare resulting from illegal copay subsidies that

facilitate high drug costs and push the financial burden of those costs to Medicare and the

American taxpayer.

        201.   Mallinckrodt's conduct was sustained and systemic. It lasted over multiple years

and involved thousands of claims submitted to Medicare. After a first successful attempt to

create and use a funds for its own ends of subsidizing copays for Acthar patients, the course    of

conduct was repeated twice more for other funds also designed to enrich Mallinckrodt at the



s
 Drug Maker United Therapeutics Agrees to Pay $2 l0 Million to Resolve False Claims Act
Liability for Paying Kickbacl<s (December 20,2017) (https://wwwjustice.gov/ogr/prldrug-
maker-united-therapeutic s-agrees- pay -270-million-resolve-false-claims-act-liabilitv)

Drug Maker Pfizer Agrees to Pay $23.85 Million to Resolve False Claims Act Liability-for
Paying Kickbacks (May 24,2018) (https://wwwjustice.gov/opa/prldrug-maker-pfizer-agrees-
   -2 3 8 5 -rnillion-resolve-fal


Drug Maker Actelion Agrees to Pay $360 Million to Resolve False Claims Act Liability-for
Paying Kickbacl<s (December 6, 2018) (http s //www. i ustice. gov
                                               :                            /drus-maker-actelion-
agrees-pay-3 60-million-resolve-false-claims-act-liability-payin g
Three Pharmaceutical Companies Agree to Pay a Total of Over $122 Million to Resolve
Allegations That They Paid Kickbacl<s Through Co-Pay Assistance Foundations (April 4,2019)
Gllus. 4iullv, i usti c e. go lo palprllbrcqpharuas eutical-comDanies-a gree-pav-total -ov er - 122 -
rni llion-resolve-alle gations-they-paid)


Two Pharmaceutical Companies Agree to Pay a Total of Nearly $125 Million to Resolve
Allegations That They Paid Kickbacla Through Copay Assistance Foundations (April 25,2019)
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mi llion-resolve-alle eations-thev-paid)




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expense of the Medicare program. The kickbacks at issue here were for millions of dollars     in

total and were not insignificant.

        202.   Compliance with the regulatory requirement that the PDE data submitted to CMS

is "true, accurate, and complete" is an express condition of payment under the Medicare Part D

Program.

        203.   The submission of PDEs is essential to the functioning of the Part D Program, the

singular purpose of which is to provide coverage for drug products for the Medicare population.

The accuracy of the information contained in each PDE for each patient determines how much

payment will be made by Part D for that particular prescription.

        204.   The scheme alleged here resulted in thousands of PDEs being submitted to Part D

over a period of multiple years.

III.   SAMPLE FALSE ACTHAR CLAIMS

        205.   Through the scheme described above, Mallinckrodt provided illegal copay

subsidies for over 2,600 Acthar prescriptions to induce Medicare-reimbursed purchases of the

drug, resulting in millions of dollars of false claims to Medicare during the relevant time period.

        206.   Throughout the time period where Mallinckrodt used CDF as a conduit to pay

these illegal Acthar copay subsidies, patients used these subsidies at pharmacies to purchase

Acthar prescriptions, and the pharmacies submitted claims to Medicare Part D sponsors seeking

Medicare reimbursement for those prescriptions. These false claims are documented in PDE

data. Moreover, Part D Plan Sponsors, in turn, submitted these false PDE data to CMS as the

basis for payments from the federal government based upon the expenses incurred for these

illegally subsidized Acthar prescriptions.




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       207.    Prescription Drug Event data attached as Exhibits    I   and 2 demonstrate

representative examples of false claims for Acthar prescriptions that were the subject      of

Mallinckrodt's illegal copay subsidies and reimbursed by Medicare. Each line item on these

exhibits represents a distinct Prescription Drug Event reflecting a false Medicare claim for

Acthar (i.e. a Medicare-reimbursed purchase of Acthar by a Medicare beneficiary to       fill    an

Acthar prescription using a copay subsidy). In each instance, the drug is identified as Acthar by

both its "National Drug Code" ('NDC Code") and its common name (in the'NDC Code

Description") from the PDE data. In each line item, the PDE data also shows the Medicare Part

D Beneficiary who received the drug, reported here in the "Bene Name" field (using a de-

identified value for purposes of this exhibit).

        208.   In each line item, the "Date From Claim" column represents the date of service

for the Medicare claim, i.e.,when the beneficiary purchased the Medicare-covered Acthar

prescription from a pharmacy using the copay subsidy, as reported in the PDE data. The

pharmacy then dispensed the units of Acthar reported in the Units Quantity Dispensed ("Units

Quan Disp") column of the PDE data to the beneficiary. Acthar "units" are measured in

milliliters and Acthar is sold in 5 milliliter vials. Accordingly, each multiple of 5 reported in this

column represents one vial of Acthar dispensed for that claim.

        209.   For each line item, the "Date Processed" column represents the date Medicare

processed and paid its share of the claim according to the PDE data The reported Medicare cost

of the prescription is reflected in the following PDE data fields: Amount Below Out-Of-Pocket

Threshold ("Amt Below OOPT") and Amount Above Out-Of-Pocket Threshold ("Amt Above

OOPT"). AMT Below OOPT refers to total costs for that prescription considered to be below

the "catastrophic coverage" threshold for that benefit year. AMT Above OOPT represents the



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portion of the drug cost considered to be in the "catastrophic coverage" benefit phase, and

subject to the Medicare Part D reinsurance subsidy.

        210.     For each line item, the PDE data field "Pharm ID" represents a code

corresponding to the pharmacy that dispensed the prescription, and the PDE data field "Presc

ID" represents   a code corresponding to the   referring physician for the prescription (both reported

using a de-identified value for purposes of this exhibit).

        2ll.     Exhibit I reflects 79 representative example false claims for Acthar prescriptions

that Medicare reimbursed on behalf Patients AA, AB, and AC, who Mallinckrodt sent (via

ASAP) to the MS Acute Exacerbation, Lupus Exacerbation, and RA Exacerbation funds,

respectively, to receive Mallinckrodt's Acthar copay subsidies.

        212.     Exhibit 2 reflects an additional42 representative example false claims for Acthar

prescriptions that Medicare reimbursed on behalf of the indicated patients residing in this judicial

district, all of whom Mallinckrodt sent to CDF to receive Mallinckrodt's Acthar copay subsidies.

        213.     All I2l of these sample false claims were submitted to Medicare for

reimbursement and made the specific representations for each prescription described above,

including: the identity of the beneficiary, drug, pharmacy and referring physician; the Medicare

claim's date of service and date Medicare processed the claim; the Medicare drug cost above and

below the "out-of-pocket" threshold for each prescription; and the units of Acthar dispensed to

the beneficiary for each prescription.

       214.      Exhibits 3 and 4 show the illegal copay subsidy amounts paid by Mallinckrodt for

each sample false claim identified in Exhibits    I   and2, respectively. Mallinckrodt paid, via CDF,

the copay subsidy amounts reflected in the "Acthar Copay Subsidy Amount Paid For Claim"

column (through the fund indicated by the "Fund" column) for each claim referenced in the



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"Corresponding Sample False Claim No." column, to induce each Medicare reimbursed-

purchase of   Acthar. These payments occurred on the    same date as the "Date From    Claim" field

reported in the PDE data for each claim and were paid to the same Medicare beneficiary reported

on each claim.

         215.    These copay subsidy amounts (and the funds through which Mallinckrodt paid

them) show each illegal copay subsidy paid for each claim based upon CDF records.

         216.    The claims did not disclose that the patient received illegal remuneration to

induce the purchase of the drug in violation of the AKS.

              THE ACTHAR CLAIMS ALLEGED HERE ARE FALSE CLAIMS

         217.     Mallinckrodt knowingly and willfully paid remuneration to Medicare patients to

induce the patients to purchase Acthar by providing them with financial subsidies to satisff the

copayment obligations necessary to buy the drug.

         2I8.    Mallinckrodt knowingly caused the submission of false claims for reimbursement

to Medicare in each instance in which it provided a patient with a copay subsidy through CDF

for Acthar.

         219.    The claims are per se false or fraudulent as a matter of law. 42 U.S.C. $ 1320a-

7b(e).

         220.    The claims are also false because the PDE data and the specific representations

therein fail to disclose a violation of a requirement material to the agency's payment decision,

namely the AKS.

         221.    The PDE data was not true, accurate, and complete because it did not disclose a

violation of the AKS. The PDE data for each claim was a false record that Mallinckrodt caused

to be used to pay the false claims alleged herein.



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       222.       The representations of compliance with the AKS made by the Part D Sponsor and

downstream entities were false because the claims resulted from an illegal kickback. The

representations were false records that Mallinckrodt caused to be used to pay the false claims

alleged herein.

                                              COUNT     I
                          (False Claims Act: Presentation of False Claims)
                                     (31 u.s.c. $ 372e(a)(1)(A)

       223.       The United States re-alleges and incorporates by reference all paragraphs of this

complaint set out above as if fully set forth herein.

       224.       By virtue of the acts described above, Defendants knowingly presented or caused

to be presented materially false or fraudulent claims for payment or approval to Medicare in

violation of the False Claims Act, 3l U.S.C. $ 3729(a)(1)(A);that is, Defendants knowingly

made or presented, or caused to be made or presented, to the United States claims for payment

for Acthar that were tainted by illegal kickbacks.

       225.       Payment of the false and fraudulent claims was a reasonable and foreseeable

consequence of the Defendant's conduct.

       226.       By reason of the foregoing, the United States has been damaged in an amount to

be determined at trial, and is entitled to recover treble damages plus a   civil monetary penalty for

each false or fraudulent claim.

                                        COUNT II
        (False Claims Act: False Records Material To A False or Fraudulent Claim)
                                 (31 U.S.C. S 3729(aX1XB)

       227.       The United States re-alleges and incorporates by reference all paragraphs of this

complaint set out above as if fully set forth herein.




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       228.    By virtue of the acts described above, Defendants knowingly made, used, or

caused to be made or used, false records or statements, namely, false claims, false statements   in

PDEs, and false statements about compliance with the AKS, all of which were material to false

or fraudulent claims that were submitted to the United States and paid and approved by the

Medicare program for Acthar that were tainted by illegal kickbacks, in violation of the False

Claims Act, 31 U.S.C. $ 3729(a)(l)(B).

       229.    Payment of the false or fraudulent claims was a reasonable and foreseeable

consequence of the Defendants' statements and actions.

       230.    By reason of the false or fraudulent records or statements, the United States has

been damaged in an amount to be determined at trial and is entitled to recover treble damages

plus a civil monetary penalty for each false record or statement.




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                                   PRAYER FOR RELIEF

       WHEREFORE, plaintiff, the United States, requests that judgment be entered in its favor

as follows:

       I.     On Count I under the False Claims Act against Defendant, for the amount

              of the United States' damages to be established at trial, trebled as required

              by law, and such civil penalties as are authorizedby law, and all such

              further relief the Court deems just and proper.

       il     On Count II under the False Claims Act against Defendant, for the amount

              of the United States' damages to be established at trial, trebled as required

              by law, and such civil penalties as are authorizedby law, and all such

              further relief the Court deems just and proper.

       III    All other and further relief as the Court may   deems   just and proper.



       The United States hereby demands ajury trial on all claims alleged herein.




Dated: Jvne 4,2019




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                            Respectfully submitted,

                            JOSEPH H. HUNT
                            Assistant Attomey General


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                                          - t,l //z'- --'
                            WILLIAM M. McSWAIN
                            United States Attorney




                            Assistant United States Attorney




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                    ExUIBIT              1
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Sample False Claim
                      NDC Code             Code Descrlptlon
       No.                           NDC                       Bene Name   Date From Clalm   Unlts quan Dlsp   Date Processed       AmtAbove OOPT      Amt Below OOPT    Pharm lD       Presc lD


                                           ACTHAR HP                                                       5                                     .t7                                4   MD 02
                                                                  AA
                                                                                                                                                                                    4   MD
        4
                                           ACTHAR HP
                                                                                                                                5          3L,287.17   s                            4

                     63004773r0L
                                                                  AA                                                            5          3t,zB7.L7   s                                MD 05
                                           ACTHAR HP              AA         LuBno72                       5     1211012012     5          3t,z\7.t7                                4   MD 05
        6
        7
                                                                                                                                5          zt,zst.tz
                                                                                                           5                    5          2e,288.i1                                4   MD 02
        9
                                                  ACTHAR          AA                                       5    03lo8/2o73      5          37,287,t7                                7
                                           H.P., ACTHAR                                                         o412612073      5          3r,281.77                                    MD 01
        LI           63004871001
                                           H.P. ACTHAR            AA                                       5     osltslzoT3     5          37,287.L7   5                            1   MD 02
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                                           H.P, ACTHAR
                                           H.P. AcrHAR
                                                                  AA                                       5    06/2712073      S          3t,s3i.L4                                7
                                                                             06/28/?:013                  10                                                                        4
        74                                                                                                                                                                              MD   02
                                           H.P.   A   THAR        AA         o7/2s/2073                    5
        15
                                                                                                                                                       s                            4   MD   01
                     5300487L001           H.P. ACTHAR                       o8h2/2013                     5                                                                        3   MD
        L6                                        ACTHAR          AA         09/o412073                                                                                                 MD   01
                     63004871.001          H.P. ACTHAR            AA
        18           53004871001    ---l""lcrHAR                  AA
                                                                                                           5                                                                            MD   01
        19           63004871001
                                                                                                           5                                           )                 Pharmacv 3
                                           H.P. ACTHAR                                                     5                                                                            MD 02
                                           H.P. ACTHAR            AA                                       5                               37,775.70                                3   MD
        27           63004871001                  ACTHAR                                                   5                                                                            MD 02
       22            63004871001
       23            63004871001
                                           H.P.                   AA                                                            S          31,17s.70   s                                MD

       24            63004871001
                                           H.P. ACTHAR                                                     5                    S          26.074.3r   s                 PharmaN 2      MD 04
                                           H.P. ACTHAR            AB                                       5                                                                        2   MD   04
       25                                  H.P. ACTHAR                                                     5                                                                            MD   04
       26            63004871001           H.P. ACTHAR                       7thu2013
       27            6300487X001
                                                                  AB                                       5                    S          30,873.00                                2   MD 04
                                                  ACTHAR          AB         7712s12013                    5     Lzl0s/zOLt     s          30,873.00   s                 Pharmacy 2     MD 04
       2A            53004871001           H.P,                   AB         Lzl70/2013                    5     12122120L1     s          30,873.00                                2   MD 04
       29            6300487100L           H.P. ACTHAR            AB         12130120L3                    5    oTl06lzoL4      s          30,873.00                     Phamacy 2      MD 04
       30            63004871001
       31            63004871001
                                           H.P. ACTHAR
                                           H.P. ACTHAR
                                                                  AB                                       5    orl23l2O74      s          23,750.93   S      7,L22.o7   Pharmacy 2     MD 04
                                                                                                           5    o9h7l20L4                  32.416.55   s
       32
                     63004871001
                                           H.P. ACTHAR
                                           H.P.
                                                                  AB         o2125/2074                    5                    s          32,416.8s   s                                MD 04
                                                                  AB         03/78/2014                                         s                      5                            2   MD
       34            63004871001           H.P. ACTHAR            AB         04l03l2074                    5     o91r712074     5          32,476.65                     Pharmacy 2     MD 04
       35            6300487X001           H.P, ACTHAR            AB         04123120L4                    5    o9lL7l20L4      s          32,416.65   s                 Pharmacy 2     MD   04
       36            63004871001           H.P. ACIHAR            AB         0sl06/2074                    5    os/22/2074      s          32,476.6s   s                 Pharmacy 2     MD 04
       37                4877007           H.P. ACTHAR            AB         osl2ol2074                    5     0610712074     s          32,476.65   s                 Pharmacy 2     MD 04
       38            63004871001           H.P. ACTHAR            AB         06l04l20r4                    5    06/23120L4      s          32,476.65   s                 Pharmacy 2     MD 04
                     63004a71001           H.P. ACTHAR            AB         06126l2OL4                    5     0712312074     s          32,4L6.65   s                 Pharmacy 2     MD 04
       40            63004871001
       47
                                           H.P, ACTHAR            AB         07176120L4                          07/37/2074     S          32,416.65   )                 Pharmacy 2     MD 04
                     63004871001           H.P. ACTHAR            AS         o7/31,/20L4                   5     08lralzo74     S          32,416.5s   s                          2     MD   04
       42            63004871001           H.P. ACTHAR            AB         o8lt8l20r4                    5     7010912074     (          32.476.65                     Pharmacv 2     MD   04
       43            53004871001           H.P. ACTHAR
       44            53004871001
                                                                  AB         09104/2Or4                    5     7Ol14l2O74     S          32,416.6s   s                 Pharmrav 2     MD   04
                                           H.P. ACTHAR            AB         09/2slzo74                    5     70/74/2074     s          32,4L6.65   s                 Pharmacy 2     MD   04
       45            53004871001
       45
                                           H.P. ACTHAR            AB         LOl20.lZO74                         77/7al2OL4     S          32,416.8s   s                 Pharmacy 2     MD   04
       47
                     6300487X.001
                     63004871001
                                           H,P. ACTHAR            AB         77/13/2oL4                    q
                                                                                                                 L2/02/20L4     s          32,416.65   s                 Pharmacv 2     MD   04

       48
                                           H.P. ACTHAR            AB         L2lO4l20L4                    5     L2/23/2Or4     S          32,418.85                                2   MD   04
                     63004871001
       49            6300487LOOL
                                           H.P, ACTHAR            AB         1212212074                    5     o7lo7l20Ls     S          33,066.s0   s                 Pharmacv I     MD   04
                                           H.P. ACTHAR                       07lou20L3                     5     07l27l2OL3     S          27,826.09   s      3,757.70   Pharmary3      MD 03
       50            63004871001           H.P.   A   THAR
       51            53004871001
                                                                  AC         07177/2073                    5     0713012073     s          3L.583.19   )                 Pharmacv 3     MD 03
                                           H.P. ACTHAR            AC         o8/2o12073                    5    09lo4/2oL3      5          31,583.19   s                 Pharmacy 3     MD 03
                     63004871001           H,P.   ACIHAR          AC         09lo4l2OL3                    5     09119120L3     s          31,583.19   s                 Pharmacv 3     MD 03
       53            63004871001           H.P. ACTHAR            AC         091241207t                    5     rolo3l2o73     s          31,583.19   s                            3   MD 03
       54            63004871001           H,P, ACTHAR            AC         LO/7O/2O73                    5     70127/2073     s          31,s83.19   s                 Pharmacv 3     MD 03
                                               Case 2:12-cv-00175-BMS Document 57 Filed 06/04/19 Page 64 of 70



Sample False Claim
       No.
                      NDC Code      NDC Code   Descriptlon   Bene Name   Date From Clalm   Unlts quan Dlsp       Dat€ Processed           Amt Above OOPT           Amt Below ooPT      Pharm lD        Presc lD


         55          63004871001        H.P, ACTHAR             AC         LOIZs/2073                    5        L1./7312073     I              31,583.19                             Pharmacv 3      MD 03
         56          63004871001        H.P. ACTHAR             AC         7711112073                    5        t2l02l2oL3          s          31,583.19                                         3   MD 03
         57          63004871001        H.P. ACTHAR             AC         72/0412013                    5         72171120L3         s          31,s83.19         s                   Pharmacy 3      MD 03
         58          63004871001        H.P. ACTHAR             AC         72l20l2Or3                    5        ollo7l2074      I              31,583.19                             Pharmacv 3       MD 03
         59          53004871001        H.P. ACTHAR                        o710612014                    5        oslos/2o74          q           2s,339.77                6,243,42    Pharmacy 3       MD   03
                                                                                                                                  |                            |
         60          63004871001        H.P. ACTHAR             AC         o!2212074                     5        03los12074          s           33,162.34                            Pharmacv 3       MD   03
         61          63004871001        H.P. ACTHAR                        02losl20L4                    5         0310512074     I              33,762.34                             Pharmacy 3       MD   03
         62          63004871001        H.P. ACTHAR             AC         0212412074                                                 s          33.162.34     I                                 3      MD   03
                     53004871001        H.P. ACTHAR             AC         03lL3/2oL4                    5         o3lL9/2O74     |               33,152.34                            Pharmac.y 3      MD   03
         64          63004871001        H.P. ACTHAR             AC         04102120t4                    5         o41t712074         s           33.162.34 I      s                   Pharmaav         MD   03
         (5          6300487100L        H.P. ASIHAR             AC         04/2712Or4                              ul30l20L4      I   i           33,t62.14                            Phamacy 3        MD   03
         66          53004871001        H.P.,AgIHAR             AC         051o512074                    5         oslLs/20!4     I   i           33.162.34    I                                        MD   03
         67          53004871001        H.P. ACIHAR             AC         osl2tl2o14                    5         oslzslzol4     I   s           33,762.34    I                       Pharmacy 3       MD   03
         68          53004871001        H.P. ACTHAR             AC         06l09l20t4                    5         o6126120L4     I   s           33,L62341        |                   Phamacv          MD   03
         6           53004871001        H.P. ACTHAR             AC         06l30/2Or4                    5         o7l23l2ir4 | |                 33,162.34                                             MD   03
         70          63004871001        H.P. ACTHAR             AC         o717712074                    5         07l2sl20L4         s           33.762341                            Pharmacv 3       MD   03
         77          53004871001        H.P, ACTHAR             AC         o8l04120L4                    5         oBlzs/2074                     33,1,62.34                           Pharmacy 3       MO   03
         72          63004871001        H.P. ACTHAR             AC         08/18/2014                    5         09lo3l2OL4         s           33,t62.U         s                                    MD   03
                     53004871001        H.P. ACTHAR             AC         o910812074                    5         09h8l20L4                      31,762.34                            Pharmacv 3       MD   03
         74          63004871001        H.P. ACTHAR             AC         0912912074                    5         10lL6l2O14         5           13,762.34                            Pharmac.y        MD 03
         75          6300'1871001       H.P. ACTHAR             AC         70lL4l2ot4                    5         tol29l20r4         s           33.162.34        s                   Pharmacv 3       MDI 3
         76          63004871001        H.P, ACTHAR             AC         1012912074                    5         7uLZl2074                      33,762.34                            Pharmacv    3    MD 03
         77          6300'1871001       H.P. ACTHAR             AC         7rl17l20L4                    5         Ltl26lZO74         s           33,162.34            s               Pharmacv    3    MD 3
         78          5300487X.001       H.P. ACTHAR             AC         Lzl03/2Or4                        5     72170120L4                     33,162.34                            Pharmacy    5    MD 03
         79          63004871001        H.P. ACTHAR             AC          t212912014                       5     orlo7l20L5         s           33,A27.73            (               Phamacv     5    MD(
Totals                                                                                                 400                                     2,538,202.22                23,969.54
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Subsidy Date                 Fund             Acthar Copay Subsidy Amount Paid for Claim    Corresponding Sample False Claim No.


    08loel2012 MS Acute Exacerbation      s                                      1,554.35                    L
    L010312012 MS Acute Exacerbation      s                                      7,564.36                    2
    Loltsl2oT2MS Acute Exacerbation       s                                     1,554.35                     3
   771t312072 MS Acute Exacerbation       S                                     1,564.36                     4
   77/2312072 MS Acute Exacerbation       s                                     1,554.36                     5
   t2/28/2012 MS Acute Exacerbation       5                                     1,564.36                     5
   07/30l2ot3     MS Acute Exacerbation   s                                     2,4L7.7L                     7
   0212612073 MS Acute Exacerbation       5                                     1,564.36                     8
   03/22/2013 MS Acute Exacerbation       s                                     1,564.35                     9
   04126/2013 MS Acute Exacerbation       s                                     1,564.36                     10
   0s/14/2013 MS Acute Exacerbation       s                                     7,564.36                     11
   06114/2013 MS Acute Exacerbation       s                                     1,576.86                     t2
   06/28/2ot3 MS Acute Exacerbation       s                                     3,153.64                     13
   07/29/20L3 MS Acute Exacerbation       s                                     L,576.86                     t4
   08112/20L3 MS Acute Exacerbation       S                                     1,558.79                     15
   0s/04/20t3 MS Acute Exacerbation       s                                     1,558.79                    16
   osl23l2o13 MS Acute Exacerbation       s                                     1,558.79                    17
   1012L12013 MS Acute Exacerbation       s                                     1,558.79                    18
   70/2el2ot3 MS Acute Exacerbation       s                                     1,558.79                    19
   11/0412013 MS Acute Exacerbation       s                                     1,558.79                    20
   Ltlt2/2o13    MS Acute Exacerbation    s                                     1,558.79                    27
   1-2102/2073 MS Acute Exacerbation      s                                     1,558.79                    22
   09h212073 Lupus Exacerbation           s                                     3,445.34                    23
   0e130/2073 Lupus Exacerbation          5                                     1,543.65                    24
   t017712073 Lupus Exacerbation          s                                     1,543.55                    25
   tuttl2or3     Lupus Exacerbation       s                                     1,543.65                    26
   tL/2s/2013 Lupus Exacerbation          s                                     1,543.55                    27
   !2l10l2Ot3 Lupus Exacerbation          s                                     1,543.65                    28
   72/30/2013 Lupus Exacerbation          s                                     1,543.55                    29
   07/L6120L4 Lupus Exacerbation          s                                     3,401.31                    30
   02/o4/2o74 Lupus Exacerbation          5                                     1,520.83                    31
   02lzs/2OL4 Lupus Exacerbation          S                                     1,620.83                    32
   03lt8/2014 Lupus Exacerbation          s                                     1,520.83                    33
   04/03/2074 Lupus Exacerbation          s                                     1,620.83                    34
   04123/2014 Lupus Exacerbation          s                                     1,620.83                    35
   0s/06/2074 Lupus Exacerbation          s                                     1,620.83                    36
   0s/2012014 Lupus Exacerbation          S                                     1,620.83                    37
   06/o4/2074 Lupus Exacerbation          s                                     1,620.83                    38
   06/2612014 Lupus Exacerbation          s                                     1,620.83                    39
   07/t6/20t4    Lupus Exacerbation       s                                     1,620.83                    40
   07/3L12074 Lupus Exacerbation          s                                     1,620.83                    4t
   08178/20L4 Lupus Exacerbation          s                                     1,620.83                    42
   0slo4l2oL4 Lupus Exacerbation          s                                     1,520.83                    43
   0e/2s/2014 Lupus Exacerbation          s                                     1,620.83                    M
   70/2012074 Lupus Exacerbation          s                                     1,620.83                    45
   t7/73/2074 Lupus Exacerbation          s                                     1,620.83                    46
   12/04/201.4 Lupus Exacerbation         s                                     1,620.83                    47
   12/22/20L4 Lupus Exacerbation          S                                     1,6s3.33                    48
   o7/01/2013 RA Exacerbation             s                                     3,175.92                    49
   07/1712013 RA Exacerbation             S                                     7,519.t6                    50
   08/20l2OL3 RA Exacerbation             s                                     7,579.t6                    51
  oel04/2073 RA Exacerbation                                                    7,579.t6                    s2
  09/2412073 RA Exacerbation              s                                     1,579.16                    53
   701L0/2O73 RA Exacerbation                                                   7,579.L6                    54
  to/2812ot3     RA Exacerbation          )                                     7,579.16                    55
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                                               Acthar Copay Subsidy Amount Paid For      Corresponding Sample
  Subsidy Date             Fund
                                                              Ctaim                         False Claim No.

  7L/01./2012      MS Acute Exacerbation       S                            L,470.76             80
  04/].sl2Ot3         RA Exacerbation          s                            3,557.7L             81
  04l2e/2013          RA Exacerbation          s                            7,566.64             82
  0sl2t/2013          RA Exacerbation          s                            1,s56.64             83
  0610712013          RA Exacerbation          s                            1,566.01             84
  07/01,/2073         RA Exacerbation          S                            7,579.1_6            85
  08129/2073       MS Acute Exacerbation       s                           4,071.39              86
  L0/18/2013       MS Acute Exacerbation   s                                2,89L.52             87
  7210412073       MS Acute Exacerbation   s                                2,891..52            88
  osl30l2073          RA Exacerbation      s                               2,920.96              89
  07llsl2O73      MS Acute Exacerbation    s                               3,359.85              90
  12/Osl2073      MS Acute Exacerbation    s                                1.,468.41,           91
  72/70/2073      MS Acute Exacerbation    s                                7,468.4L             92
  72/7612013      MS Acute Exacerbation    s                                L,468.47             93
  t2l27l2OL3      MS Acute Exacerbation    s                               1.,468.4L             94
  70/2s/2OL2         RA Exacerbation       )                               5,1,86.54             95
  1210312012         RA Exacerbation       S                               3,113.31              95
  03los/2073         RA Exacerbation       s                               5,569.33              97
  04/08l2Ot3         RA Exacerbation       S                               3,113.3L              98
  07/7s/20L3         RA Exacerbation       S                               L,559.20              99
  09/2412013         RA Exacerbation       S                               1,559.20              100
  70122/2073         RA Exacerbation       s                               1,559.16              101
  72/2312013         RA Exacerbation       s                               1,559.16              L02
  09/2s/2012         RA Exacerbation       s                               5,289.25              103
  72/11./2013     MS Acute Exacerbation    s                               3,464.47              L04
  08/03l2Ot7      MS Acute Exacerbation    s                               1,304.72              105
  09losl2077      MS Acute Exacerbation    s                               1.,304.72             106
  tolo712071      MS Acute Exacerbation    s                               7,3O4.72              107
  1-LlOs/201"1.   MS Acute Exacerbation    s                               7,304.72             108
  1217712011"     MS Acute Exacerbation    s                               3.,304.72            109
  os/0312072      MS Acute Exacerbation    s                               1,400.15             1L0
  LL/0812073      MS Acute Exacerbation    s                               1,500.06             1.1_L

  L1./28/2072        RA Exacerbation       s                               3,128.57             1t2
  02/2712012      MS Acute Exacerbation    s                               1,400.L5             113
  oe/1.212013        RA Exacerbation       s                               1,536.20             1.L4
 oel26/2073          RA Exacerbation       s                               1,536.20             115
 70/78/2073          RA Exacerbation       s                               1,536.20             176
 tL/72/2073          RA Exacerbation       s                               1,536.20             L17
 03/71,12074         RA Exacerbation       s                               3,L42.7!             118
 11./Os/201.3        RA Exacerbation       s                               3,607.97             LL9
 72/0412073          RA Exacerbation       s                               1,543.65             120
  08/2012072      MS Acute Exacerbation    s                               1,43g.05             72L
Totals                                     s                             95,1,L7.74
